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 1   Daniel Alberstone (SBN 105275)
     dalberstone@baronbudd.com
 2   Mark Pifko (SBN 228412)
 3   mpifko@baronbudd.com
     Evan Zucker (SBN 266702)
 4   ezucker@baronbudd.com
     BARON & BUDD, P.C.
 5   15910 Ventura Boulevard, Suite 1600
 6   Encino, California 91436
     Telephone: (818) 839-2333
 7   Facsimile: (818) 986-9698
 8
     Attorneys for Plaintiff
 9   RUSSELL MINORU ONO individually,                           [PUBLICLY FILED]
     and on behalf of other members of
10   the general public similarly situated
11
                               UNITED STATES DISTRICT COURT
12                            CENTRAL DISTRICT OF CALIFORNIA
13
                                                   Case No.: 2:13-cv-04222-FMO-(AGRx)
14   RUSSELL MINORU ONO, individually,             CLASS ACTION
15   and on behalf of other members of the
     general public similarly situated,            REDACTED VERSION
16                                                 JOINT BRIEF RE: CLASS
17               Plaintiff,                        CERTIFICATION
18         vs.                                     [Filed Concurrently with the Evidentiary
19                                                 Appendix in Support Thereof.]
     HEAD RACQUET SPORTS USA, a
20   corporation organized and existing under      District Judge: Hon. Fernando M. Olguin
21   the laws of the State of Delaware, and        Magistrate: Hon. Alicia G. Rosenberg
     HEAD USA, INC., a corporation                 Location: Courtroom 22 – 5th Floor
22
     organized and existing under the laws of                   312 North Spring Street
23   the State of Delaware,                                     Los Angeles, CA 90012
                                                   Date:        June 25, 2015
24
                 Defendants.                       Time:        10:00 a.m.
25
26
27
28

                                  JOINT BRIEF RE: CLASS CERTIFICATION
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 1   TO THE HONORABLE COURT, ALL PARTIES, AND THEIR ATTORNEYS
 2   OF RECORD:
 3         Please take notice that on June 25, 2015 at 10:00 a.m., Plaintiff Russell Minoru
 4   Ono, individually and on behalf of other members of the general public similarly
 5   situated (“Plaintiff”), will and hereby does move this Court for an order:
 6         1.     To certify this action as a class action under Rule 23 of the Federal Rules
 7   of Civil Procedure;
 8         2.     To certify the following class of persons as the Plaintiff Class:
 9                All residents of California who purchased Tour-Line
                  Racquets during the period of January 1, 2006, continuing
10                through the date of final disposition of this action;
11         3.     To certify Plaintiff Russell Minoru Ono as the named representative of the
12   Plaintiff Class, and to certify his counsel, Daniel Alberstone, Mark Pifko, Evan Zucker,
13   Barron & Budd, P.C. as Class Counsel.
14         This joint brief is filed under Rule 23 of the Federal Rules of Civil Procedure,
15   the Court’s February 25, 2015 Order, and it is based on this notice, the memorandum
16   of points and authorities, the Evidentiary Appendix and Declarations filed in
17   connection therewith, and the complete files and records in this action.
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28                                JOINT BRIEF RE: CLASS CERTIFICATION

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Case 2:13-cv-04222-FMO-AGR Document 106 Filed 05/15/15 Page 3 of 61 Page ID #:1966



 1   DATED: May 15, 2015                     BARON & BUDD, P.C.
 2                                      By: /s/Mark Pifko
 3                                          Mark Pifko
 4                                           Daniel Alberstone (SBN 105275)
 5                                           dalberstone@baronbudd.com
                                             Mark Pifko (SBN 228412)
 6                                           mpifko@baronbudd.com
 7                                           Evan Zucker (SBN 266702)
                                             ezucker@baronbudd.com
 8                                           BARON & BUDD, P.C.
 9                                           15910 Ventura Boulevard, Suite 1600
                                             Encino, California 91436
10                                           Attorneys for Plaintiff
11
                                             RUSSELL MINORU ONO, individually,
12                                           and on behalf of other members of the
13                                           general public similarly situated
14
                                             Douglas A. Rettew (pro hac vice)
15                                           Danny M. Awdeh (pro hac vice)
16                                           Anna Balishina Naydonov (pro hac vice)
                                             FINNEGAN, HENDERSON,
17                                           FARABOW, GARRETT & DUNNER,
18                                           L.L.P.
                                             901 New York Avenue NW
19                                           Washington DC 20001
                                             Telephone: 202.408.4000
20                                           Facsimile: 202.408.4400
21
                                             MICHAEL L. MALLOW (SBN 188745)
22                                           mmallow@sidley.com
23                                           SIDLEY AUSTIN LLP
                                             555 West Fifth Street
24                                           Los Angeles, CA 90013
                                             Telephone: 213.896.6666
25
26                                           HEAD USA, INC.
27
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                                              3
28                           JOINT BRIEF RE: CLASS CERTIFICATION

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 1   I.    INTRODUCTION AND FACTS
 2         A.     Plaintiff’s Introduction and Facts
 3         To address false and misleading advertising practices engaged in by Defendants
 4   Head Racquet Sports USA and Head USA, Inc. (“Head”), Plaintiff Russell Minoru Ono
 5   (“Plaintiff”) hereby seeks to certify his claims under Rule 23 of the Federal Rules of Civil
 6   Procedure, on behalf of the following class (the “Class”):
 7                All residents of California who purchased Tour-Line Racquets
                  during the period of January 1, 2006, continuing through the
 8                date of final disposition of this action.
 9         Plaintiff alleges -- and discovery confirms -- that Head uniformly represents to
10   consumers of its “tour” line of tennis racquets (the “Tour-Line Racquets”)1 that the
11   racquets are used in competition by certain professional tennis players (“Head’s Paid
12   Professionals”) when, in fact, they are not. Contrary to Head’s misrepresentations in its
13   “player centric” marketing campaign, Head’s Paid Professionals actually use custom
14   racquets which are not available to the public. Head’s decades-long scheme has a material
15   impact on consumers because it was designed to increase sales of the Tour-Line Racquets.
16         It is undisputed that Head lied to the public. Documents produced by Head
17   establish the true nature of the company’s fraudulent practices, and, in a few telling
18   moments of candor during depositions taken in this case, Head’s executives admitted their
19   lies. Critically, Head admits that the misrepresentations at issue are uniform and that they
20   were material to consumers because they were intended to increase racquet sales.
21   1
     The “Tour-Line Racquets” are as follows: the YouTek IG Extreme MP, YouTek IG
22 Extreme MP 2.0, Microgel Extreme Pro, YouTek Extreme Pro, YouTek IG Extreme Pro,
23 YouTek IG Extreme Pro 2.0, and the YouTek Extreme MP (collectively, the “Extreme
   Silo”); the Graphene Speed Pro, YouTek IG Speed MP 16-19, YouTek IG Speed MP 18-
24 20, YouTek Speed MP, YouTek Speed Pro, and the YouTek IG Speed MP (collectively,
25 the “Speed Silo”); the Microgel Radical MP, YouTek Radical MP; YouTek Radical Pro;
   YouTek IG Radical Pro; and the YouTek IG Radical MP (collectively, the “Radical
26 Silo”); the YouTek IG Instinct MP and the Graphene Instinct MP (collectively, the
27 “Instinct Silo”); and the Microgel Prestige MP, YouTek Prestige MP, YouTek IG Prestige
   MP, and the Microgel Prestige Mid (collectively, the “Prestige Silo”). (See Joint Exhibit
28 and Declaration Appendix (“APPX.”) Ex. 2 at P. 9-10 (response to Interrogatory No. 1).)
28                                                1
                                  JOINT BRIEF RE: CLASS CERTIFICATION
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     Case 2:13-cv-04222-FMO-AGR Document 106 Filed 05/15/15 Page 12 of 61 Page ID
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 1          Head’s President and 30(b)(6) designee, Mr. Greg Mason, testified as follows:
 2                                           Redacted

 3
 4
 5
 6
 7   (See Joint Exhibit and Declaration Appendix (“APPX.”) at Ex. 4 at P. 86 (Mason Depo. at
 8   215:11-19).) The record contains numerous other examples of misstatements made by
 9   Head as part of its scheme, over a decades-long time period. (See, e.g., APPX. Exs. 3, 5-
10   13, 29 (examples of Head’s communications to the public containing the messages at
11   issue).) In fact, Roger Petersman, Senior Category Manager for Head’s tennis division,
12   testified                                 Redacted
13
14
15
16
17
18   (See APPX. Ex. 15 at PP. 106-107 (Petersman Depo. at 173:23-174:10).)
19          Head’s advertising and promotional materials repeatedly and consistently
20   communicated the uniform message that Head’s Paid Professionals were using the Tour-
21   Line Racquets, even though Head knew its representations were false. (See APPX. Ex. 35
22   (Declaration of William J. Sanders in Support of Plaintiff’s Motion for Class Certification
23   (“Sanders Decl.”) at ¶¶ 5.b, 14-19).) And, designing its communications to reach
24   consumers of its “tour” racquets (i.e., the Tour-Line Racquets), who Head describes as
25      Redacted     Head published its uniform misrepresentations in some of the most
26   prominent magazines for tennis fans, in YouTube videos, point of sale posters, banners,
27   racquet cardboard inserts, player stand-ups, and in social media advertising campaigns,
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28                                JOINT BRIEF RE: CLASS CERTIFICATION

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 1   like Facebook. (APPX. Ex. 35 (Sanders Decl. at ¶¶ 20-25); Ex. 36 (Declaration of
 2   Cameron R. Azari in Support of Plaintiff’s Motion for Class Certification (“Azari Decl.”)
 3   at ¶¶ 11, 16-21,25).)
 4         Moreover, Head also provides false information concerning Head’s Paid
 5   Professionals’ purported use of the Tour-Line Racquets to both brick-and-mortar and
 6   online retailers, where the misstatements are then re-published to consumers. (APPX. Ex.
 7   15 at PP. 104-105 (Petersman 151:7-152:9); Ex. 21 (list linking players to retail racquets);
 8   Ex. 35 (Sanders Decl. at ¶ 24).)                     Redacted
 9
10                               (APPX. Ex. 4 at P. Mason Depo. at PP. 83-85 (Mason Depo.
11   at 198:13-200:14); Ex. 15 at P. 104-105 (Petersman Depo. at 151:7-152:9).) The personal
12   websites of professional players like Maria Sharapova do this as well. (APPX. Ex. 33
13   (Sharapova’s website directing consumers to purchase her “gear”).)
14         Additionally, Head causes its uniform misrepresentations to be re-published by
15   major tennis media outlets as a result of press releases issued by Head, or through articles
16   placed by Head’s public relations team. (APPX. Ex. 35 (Sanders Decl. at ¶¶ 16, 24).) As
17   a result, Head’s misrepresentations are further disseminated to consumers of the Tour-
18   Line Racquets. For example, faced with a question from the TennisIDENTITY.com blog,
19   “[i]s Andy Murray still playing with the same racquet? I am putting something up . . . and
20   want to note his current racquet choice with price,” Head responded, “Yes, Andy Murray
21   is using the YOUTEK Radical Pro.” (APPX. Ex. 17 (email).)                Redacted
22
23                                                                                 APPX. Ex. 34
24   (Huffington Post email exchange and media placement obtained by Head).)
25                                          Redacted
26
27
28                                                      (APPX. Ex. 16 (email).).
                                                   3
28                                JOINT BRIEF RE: CLASS CERTIFICATION

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     Case 2:13-cv-04222-FMO-AGR Document 106 Filed 05/15/15 Page 14 of 61 Page ID
                                      #:1977


 1         Finally, Head goes to great lengths to communicate its uniform message to
 2   consumers through implied representations                      Redacted
 3
 4               (See, e.g., APPX. Ex. 4 at P. 73 (Mason Depo. at 73:18-23,
 5
 6                                                  Through this practice, Head not only
 7   communicates its uniform misrepresentations to any consumer who sees Head’s Paid
 8   Professionals playing in a tennis tournament (live or on television), but it also lends
 9   credibility to the company’s lies. Head knows the consuming public will believe what
10   they think see with their own eyes. (See, e.g., APPX. Ex. 27 (email between head
11   executives stating,                               Redacted
12
13         ; and APPX. Ex. 26 (email noting that                    Redacted
14
15
16
17
18
19                                                                             APPX. Ex. 28
20                                         Redacted
21
22
23
24         In the face of these admissions, Head contends Plaintiff and other reasonable
25   consumers who understood Head’s communications as Head intended are unreasonable,
26   and that a class cannot be certified because consumer understanding of Head’s message is
27   subject to individual variations. More specifically, Head argues that       Redacted
28
                                                    4
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1                                           Redacted
 2                    consumers could not have believed Head’s Paid Professionals were
 3   playing with any particular racquet model. According to Head, it is virtually impossible
 4   to visually distinguish between different racquet models within a particular “silo” (e.g.,
 5   Radical Silo, Speed Silo, or Instinct Silo). Through Head’s logic, it then follows that, at
 6   best,                             Redacted                               , Head only linked
 7   Head’s Paid Professionals to a silo of racquets -- it did not link them to particular racquet
 8   models within the silo. But, Head’s argument presents a false premise.
 9           Notwithstanding the above, no matter how consumers interpreted it, Head’s
10   message is false. The evidence establishes that                 Redacted
11                                                (APPX. Ex. 4 at PP. 75-76 (Mason Depo. at
12   101:21-102:5).) So, whether consumers understood, for example, Head’s print
13   advertisements to represent that Andy Murray was playing with a Radical MP, a Radical
14   Pro, or any other model in the Radical Silo is immaterial.              Redacted
15                                                      (APPX. Ex. 4 at PP. 69-72 (Mason Depo.
16   at 67:21-69:6, 70:14-19).) Head’s representation is always false. Variations in consumer
17   understanding concerning the racquets depicted, assuming arguendo that exist, do not
18   defeat class certification.
19           Additionally, Head contends that consumers are not misled because they know that
20   the racquets used by Head’s Paid Professionals are modified and customized, and,
21   therefore, according to Head, consumers know the Tour-Line Racquets they purchased are
22   not “identical” to the actual racquets used by Head’s Paid Professionals. Fatal to Head’s
23   argument, however, is the fact that the customizations performed by Head’s Paid
24   Professionals after the racquets are manufactured, such as replacing the strings or
25   changing the grip, are nothing more than immaterial personal modifications, which
26   consumers could perform themselves or pay someone to perform for them. In stark
27   contrast, the differences between the Tour-Line Racquets and the racquets actually used
28 by Head’s Paid Professionals are more than personal modifications --          Redacted
                                                    5
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1                                            Redacted
 2
 3
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 5
 6                                 (APPX. Ex. 4 at P. 72 (Mason Depo. at 70:14-19.)
 7           Tellingly, after Plaintiff’s lawsuit was filed, Head implicitly acknowledged its
 8   fraudulent conduct by modifying its communications to include a disclaimer stating that
 9   “HEAD PRO Players may play with different racquets from the model shown.”2
10   However, Head’s disclaimer still does not cure the defect -- it is not that Head’s Paid
11   Professionals “may” play with different racquets from the model shown, they indisputably
12   do not play with the racquet models shown. Head’s post-litigation attempts to escape
13   liability by avoiding the impact of its uniform misrepresentations on consumers is too
14   little and too late. In fact, Head continues to prey on consumers of the Tour-Line
15   Racquets who want to play with the same racquets Head’s Paid Professionals play with.
16           Moreover, Head’s position is belied by its advertising materials and deposition
17   testimony. For example, in a marketing presentation for 2011,            Redacted
18
19
20   (APPX. Ex. 18 (Head definitional slide for “TOUR Consumer”).) “California courts
21   consistently have looked to the ordinary consumer within the target population” to define
22   the reasonable consumer. Lavie v. Proctor & Gamble Co., 105 Cal. App. 4th 496, 497
23   (2003). Here, Head admits that the target population is influenced by “player idols” like
24   Head’s Paid Professionals.
25           The conclusions of Head’s anticipated expert reports and surveys are unreliable
26   because they are contrary to the facts and Head’s own real-world, real-time marketing
27
     2
28       See, e.g., www.head.com/tennis (last visited Apr. 23, 2015) (emphasis added).
                                                     6
28                                  JOINT BRIEF RE: CLASS CERTIFICATION

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 1   strategy and research. If it was really true that player endorsements, statements, articles,
 2   and                                      Redacted
 3                did not drive sales for the Tour-Line Racquets, why would Head devote all of
 4   its resources to communicating its uniform misrepresentations to the consuming public?
 5   As other courts have held, “[t]ry as it might, [Head] cannot evade the unmistakable fact
 6   that the objective-and realization-of its marketing campaign was to present [each Tour-
 7   Line Racquet to] consumers as a product that [was actually used by Head’s Paid
 8   Professionals in competition].” Johnson v. General Mills, Inc., 275 F.R.D. 282, 298 (C.D.
 9   Cal. 2011) (quoting Fitzpatrick v. General Mills, Inc., 263 F.R.D. 687, 697 (S.D. Fla.
10   2010)) (finding defendant’s argument “unpersuasive that individual issues predominate
11   because purchasers of [its products] have been exposed to different mixes of packages and
12   advertisements since [defendant] has, over time, modified the packaging of [the products]
13   and the content and emphasis of its marketing materials”).
14         Here, in the end, because the evidence establishes that Head’s representations
15   concerning the Tour-Line Racquets were uniform, Head believed them to be material to its
16   target audience, and they were communicated in a manner that indisputably exposed them
17   to Head’s target audience, this case is ideally suited for class treatment. (APPX. Ex. 35
18   (Sanders Decl. at ¶¶ 5, 10-25); Ex. 36 (Azari Decl. at ¶¶ 21-25); Hinojos v. Kohl’s Corp.,
19   718 F.3d 1098, 1107 (2013) (“A representation is ‘material,’ . . . if ‘the maker of the
20   representation knows or has reason to know that its recipient regards or is likely to regard
21   the matter as important in determining his choice of action.’”) (quoting Kwikset Corp. v.
22   Super. Ct., 51 Cal.4th 310, 333 (2011)) (emphasis added). Additionally, it is significant
23   that Head’s message was communicated as part of an extensive and long-term campaign,
24   because plaintiff “is not required to necessarily plead and prove individualized reliance on
25   specific misrepresentations or false statements where, as here, those misrepresentations
26   and false statements were part of an extensive and long-term advertising campaign.” In re
27   Tobacco II Cases, 46 Cal.4th 298, 312 (2009).
28
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28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1         Moreover, because the standard for determining whether individual class members
 2   relied on the misrepresentations made by Head is an objective, reasonable person
 3   standard, Plaintiff’s claims are particularly well-suited for class treatment. See, e.g.,
 4   Forcellati v. Hyland’s, Inc., 2014 WL 1410264, at *9 (C.D. Cal. Apr. 9, 2014) (King,
 5   C.J.) (consumer “statute[s] allow[] [p]laintiffs to establish the required elements of
 6   reliance, causation, and damages by proving that [d]efendants made what a reasonable
 7   person would consider a material misrepresentation . . . [and] [a]s such, whether or not
 8   [d]efendants’ claims are misleading is an objective, classwide inquiry.”)
 9         Class actions “permit the plaintiffs to pool claims which would be uneconomical to
10   litigate individually” and ensure that plaintiffs have a right to redress wrongs that would
11   otherwise “have no realistic day in court if a class action were not available.” Phillips
12   Petroleum Co. v. Shutts, 472 U.S. 797, 809 (1985). Plaintiff seeks certification of his
13   claims for violation of the California Consumer Legal Remedies Act (“CLRA”), Unfair
14   Competition Law (“UCL”), False Advertising Law (“FAL”), Fraud, Negligent
15   Misrepresentation, Breach of Warranty, and Unjust Enrichment.
16         Here, the claims share common elements and each element is amenable to common,
17   classwide proof. In particular, evidence establishes that certification of Plaintiff’s claims
18   is appropriate because they are based on the uniform, material message conveyed to
19   consumers by Head as part of its extensive and long-term marketing scheme. (APPX. Ex.
20   35 (Sanders Decl. at ¶¶ 5, 10-25).) In examining the evidence, the Court may consider
21   evidence which goes to the requirements of Rule 23, but “[t]he court may not go so far, of
22   course, as to judge the validity of” competing evidence. Stanton v. Boeing Co., 327 F.3d
23   938, 954 (9th Cir. 2003). And, although the Court’s “class certification analysis must be
24   ‘rigorous’ and may ‘entail some overlap with the merits of [P]laintiff’s underlying claim,’
25   Rule 23 grants no license to engage in free-ranging merits inquiries at the certification
26   stage.” Amgen Inc. v. Connecticut Retirement Plans and Trust Funds, 133 S. Ct. 1184,
27   1194-95 (2013) (quoting Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011)).
28
                                                    8
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1         B.     Defendants’ Introduction and Facts

 2         Ono claims that he was duped into purchasing (on a whim) a high-end, expensive,

 3   performance HEAD racket solely because he believed that one of the world’s top tennis

 4   players, Andy Murray, uses the exact same racket in competitive play. Ono devotes

 5   significant portions of his brief painting Head as a villain and himself as a helpless victim.

 6   All the while, Ono continues playing with the Head racket he purchased, finding it

 7   perfectly acceptable but for the fact that it is not identical to the one Murray uses in

 8   competition. The hyperbole and rhetoric that fill Ono’s brief do not compensate for the

 9   serious deficiencies underlying his attempted class certification.

10         Like other sports companies, Head employs professional athletes as endorsers to

11   enhance its brand image. Head, however, has never embarked on a “uniform,”

12   “extensive” campaign aimed at deceiving consumers. To the contrary, Head has always

13   worked toward matching consumers with the racket that suits them best. Indeed, Head’s

14   advertising focuses on what matters most to consumers—promoting different racket

15   attributes to meet the individual needs of the wide variety of tennis players in the market

16   for performance rackets. A negligible portion of Head’s advertising made the statements

17   Ono claims are misleading. And contrary to the few email excerpts plucked from

18   hundreds of thousands of pages of documents, and presented out of context in Ono’s

19   arguments, Head never made such statements to increase sales of the referenced racket

20   models. The isolated statements (also made by other brands in the market) were intended

21   to promote Head’s racket lines generally and, at most, to attract potential consumers to try

22   (or “demo”) Head’s rackets to potentially find one they liked.

23         While Ono uses the word “uniform” 14 times in his introduction to describe Head’s

24   marketing of tennis rackets, repeatedly saying it does not make it so. Head’s

25   advertisements, like its rackets, are varied and diverse. Most do not include the allegedly

26   false claim at the heart of this dispute—that a professional athlete used a specific racket in

27   competition play. The evidence also shows it is not material to consumers’ purchasing

28 decisions. Ono’s expert opinions regarding the purported content of Head advertising
                                                    9
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   guess as to how consumers interpret that content does not make the marketing uniform.
 2         Ono supposedly purchased his Head Youtek IG Radical Pro solely because he saw
 3   Murray play with one, because he likes Murray, and he believed he was getting the same
 4   racket Murray was playing with. Ono presents no evidence that a typical purchaser of
 5   high-end tennis rackets purchases one, in whole or in part, because a specific athlete plays
 6   with it. Numerous studies show otherwise. And in 2014, Judge Walter denied class
 7   certification in a virtually identical case against racket maker Wilson, where plaintiff
 8   alleged that marketing misrepresented that Wilson’s high-end racket, available at retail, is
 9   identical to the racket used on tour by world-famous pro Roger Federer. See APPX. Ex.
10   52. As detailed below, Ono’s case fares no better.
11               1.     How Consumers Purchase Tennis Rackets
12         Head is among the elite brands of rackets used by professional tennis players. Paid
13   endorsements by players highlight the brand’s quality. Ono erroneously assumes this
14   results in homogeneous purchasers, who, irrespective of their individual preferences, buy
15   performance rackets because they all supposedly believe professional players use the
16   exact same off-the-shelf rackets in competitive play. Denying class certification, the
17   Wilson court acknowledged that purchasing a racket is a highly-individualized inquiry,
18   and “many different factors … motivate a consumer’s decision to purchase a racket.”
19   APPX. Ex. 52 at APPX584 . Studies show that player use or endorsement of a racket is
20   most often not considered and, of the few who do consider it, it is one of the last things
21   considered and given virtually no importance. Instead, purchasers consider and rely upon
22   other factors, e.g., racket specifications, brand recognition, and reputation.
23         The Tennis Industry Association (“TIA”) Tennis Consumer Report, relied on in
24   Wilson, from 2012 when Ono purchased his Head racket, “provided consumer responses
25   to the question ‘What is motivating your desire to buy a new racquet?’” Id. at APPX580.
26   “Over 100 responses by men and women aged 15 to 72 indicate[d] many diverse reasons
27   why people buy a new tennis racquet, including technology updates, the right price point,
28 and the need to replace a broken or worn out racquet;” “[n]one … responded that they
                                                    10
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   were motivated to purchase a new racquet because they saw a professional player use
 2   [it].” Id. TIA’s 2010 report showed that professional player use influenced new racket
 3   choices of only 3% of respondents. APPX. Ex. 40 at APPX346. In the 2011 report,
 4   player endorsement was the least important factor to consumers in choosing a new racket
 5   (APPX. Ex. 41 at APPX379), and only 2% who switched brands cited player use as a
 6   reason (id. at APPX381).
 7               These industry studies are corroborated by the consumer survey conducted in this
 8   case. Head retained a highly-respected expert to design and administer a survey to test
 9   empirically the extent to which tennis racket consumers (1) are influenced by professional
10   tennis player endorsements and (2) interpret advertising showing a professional tennis
11   player with a Head Radical Pro racket (the racket Ono allegedly bought) to mean that the
12   professional competes with the same racquet sold to consumers. The survey showed:
13                                               Redacted
14
15
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17
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19
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21
22
23   APPX. Ex. 53-1, Expert Report of Hal Poret (the “Survey”). In sum, for only a negligible
24    Redacted
                 of respondents could the alleged misrepresentation be possibly both misleading and
25   material. Ono thus does not represent at least      Redacted
                                                                    of the class.3
26
     3
    William H. Morris Co. v. Group W, Inc., 66 F.3d 255, 258 (9th Cir. 1995) (“less than
27
   3%” is a “small percentage [that] does not constitute proof that … recipients were
28 deceived”; “evidence sufficient where 21 to 34 percent of the recipients were deceived”).
                                                        11
28                                     JOINT BRIEF RE: CLASS CERTIFICATION

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 1         Consistent with the TIA industry studies and the Survey, Head’s sales show that a
 2   pro’s use of a racket with a particular cosmetic, and claims made by Head that a pro uses a
 3   particular model racket, do not drive sales. For example,              Redacted
 4
 5   APPX. Ex. 38 at APPX266.                                  Redacted
 6
 7                                         (“HEAD PRO Players may play with different racquets
 8   from the model shown”). Id.
 9               2.     Head’s Advertising Practices
10         The Survey and industry findings show the prime importance of racket feel and
11   playability (and the various facets thereof). Consistent with this, Head has focused on the
12   individualized nature of racket purchase decisions by helping consumers identify rackets
13   best suited for their own games—irrespective of pro endorsements. Head’s advertising
14   encourages consumers to test or “demo” Head’s rackets before purchasing them, 4 not to
15   buy them blindly because a pro endorses or uses them. Each of Head’s Reda sales
                                                                          cted

16   representatives hosts at least          Redacted           “demo days” annually around the
17   country for consumers to try Head’s rackets, including the full range of “Tour” rackets.
18   Head offers special “demo racket” programs to retailers, providing them with free and
19   discounted rackets for demo use. For example, in 2013-2014 alone,           Redacted
20                                                                                Id. at APPX265.
21   Additionally, Head has around Redacted teaching pros nationwide who promote Head’s
22   rackets and often have demo rackets available. Head also features a “racket finder” on its
23   website to help consumers find the best fit for them based on numerous criteria, e.g., level
24
     4
    APPX. Ex. 38-6 at APPX281, “Improve YOUR game by upgrading to the HEAD
25
   racquet that adapts to every shot YOU hit. Visit a participating retail store in YOUR area
26 and maximize YOUR game!”; Ex. 38-9 at APPX287, “Test a Graphene Racquet and Win
   Court Time with Novak and Maria”; Ex. 38-10 at APPX289, “Graphene Days Are
27
   Coming to a Court Near You—Test Head’s New Racquets”; Ex. 38-17, APPX303, “The
28 New Head YouTek Graphene Speed. Test It Now.”
                                                       12
28                                    JOINT BRIEF RE: CLASS CERTIFICATION

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 1   of play and preferences on control versus power, weight, head size, string pattern, etc. Id.
 2   at APPX264-65.
 3                                               Redacted
 4
 5
 6
 7                                                                             Id. at APPX265-
 8   66. Because a racket purchase is highly individualized, virtually all of the endorsements
 9   Head ran in 2009-2013 explain the type of player each racket line or model is designed for
10   and/or encourage consumers to visit the website to choose a racket best suited for their
11   individual needs.5
12         Taking Head’s advertising as a whole, it is clear Head has not embarked on a
13   uniform campaign to deceive consumers. Consumers were exposed to numerous distinct
14   advertising claims, from a variety of sources in diverse media.6 Aside from a small
15   number of press releases with very limited exposure                Redacted
16                 Redacted                  virtually all the advertisements that feature
17   professional endorsements focus on the HEAD brand or racket “line” generally and do not
18   state that a pro uses a particular racket model in competitive play. Id. at APPX268.
19
     5
       APPX. Ex. 38-5 at APPX279, “Especially for players like Andy, HEAD has designed
20
     the YouTek IG Radical—for Radical Creativity;” Ex. 38-4 at APPX279, “Designed for
21   hard hitters with flat shots like Robin Soderling”; Ex. 38-2, 38-3, 38-4, 38-5 at APPX272-
     279, “What’s your game? Find out at Head.com /tennis.”; Ex. 38-7 at APPX283, “The
22
     world’s best players use HEAD racquets—why shouldn’t you? Visit a participating retail
23   store in YOUR area and maximize YOUR game!”
     6
24  APPX. Ex. 38-2 at APPX273, “I am Novak Djokovic and My Game is Speed”; Ex. 38-4
   at APPX277, “Robin Soderling. The Power of Precision. The Power of Prestige.”; Ex.
25
   38-8 at APPX285, “Maria and Novak know the right equipment gives them a competitive
26 edge on the court—that’s why they play with HEAD racquets and Penn tennis balls”; Ex.
   38-12 at APPX293, “Gilles Simon. Tommy Haas. YouTek Prestige. Take on
27
   Anybody—Anytime!”; Ex. 38-13 at APPX295, “Andy Murray. YouTek Radical Series.”
28 A racket “line” is sometimes referred to as racket “series.”
                                                   13
28                                JOINT BRIEF RE: CLASS CERTIFICATION

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 1         Ono attempts to analogize Head’s marketing to the tobacco advertising campaigns
 2   that saturated the nation for decades, but Head’s narrowly-targeted advertising pales in
 3   comparison. In 2009-2013, Head placed various print ads in two publications circulated
 4   to a small number of teaching pros (ADDvantage USPTA and Tennis Pro PTR) and four
 5   tennis-focused publications (Inside Tennis, Tennis Magazine, ALTA Net News, and Tennis
 6   View); ran commercials on The Tennis Channel with very limited exposure; and did
 7   narrowly-targeted online advertising (including online banners and social media
 8   campaigns aimed at avid tennis players). Id. at APPX266-68. Given the different claims
 9   that appeared in various sources and Head’s heterogeneous target audience for those ads,
10   Ono cannot support his claims of “extensive,” “uniform” advertising.
11               3.     Ono Is Not Representative of the Class
12         Ono is atypical. An experienced tennis player (in the top 50 high school players in
13   Southern California), Ono devoted most of his life to working in a tennis pro shop.
14   APPX. Ex 43 at 34:8-19, 38:2-15. He strung rackets, assisted with ordering and selling
15   rackets, and helped run racket “demo days” and tennis competitions. Id. at 73:23-74:24,
16   47:18-21, 50:21-51:3, 62:15-25, 63:21-65:13. Yet, he claims ignorance when it comes to
17   tennis rackets. He never played with or demoed a Head racket before making his alleged
18   purchase. Id. at 122:23-123:5. He purportedly never played with or demoed before
19   purchase any of the high-end rackets that he owns, despite their hefty price tags. Id. at
20   88:16-90:9, 98:16-99:13, 109:9-11. Ono claims he purchased high-end Wilson and
21   Babolat rackets without ever testing either because his boss at the tennis club suggested he
22   buy them and Ono wanted to be a “company person.” Id. at 88:16-90:9, 98:16-99:13.
23         Unlike most consumers of these performance-driven rackets, Ono did not consider
24   any specifications of the Head racket before he bought it, nor did he conduct any research.
25   Id. at 129:7-24; 164:24-165:20. Consistent with his incredulous lack of interest in racket
26   specifications, Ono decides which of his three tour-level rackets to use on any given day
27   based on whether he “slept well” and his “mood.” Id. at 93:22-95:19.
28         Despite claiming to have not tested his rackets before purchasing them, Ono
                                                   14
28                                JOINT BRIEF RE: CLASS CERTIFICATION

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 1   acknowledges the importance of doing so, having organized “demo days” at his tennis
 2   club. Id. at 63:21-64:25. During these events, members played with various rackets (id.
 3   at 65:18-22) to feel how the rackets fit their individualized playing styles/objectives.
 4   Because “tour” line rackets are relatively expensive ($150-$200) and fit each person
 5   differently, players almost always try rackets before making a purchasing decision.
 6   Indeed, industry studies show that this is the top factor influencing purchasing decisions,
 7   followed by playability and racket weight. See, e.g., APPX. Ex. 40 at APPX346.
 8         Unlike other players at this level (or even lower), Ono testified that he cannot feel
 9   an appreciable difference between his various rackets, notwithstanding differences in
10   weight, balance, flexibility, and strings. APPX. Ex. 43 at 93:22-95:16. To him, they are
11   all the same. This is ironic because Ono’s entire lawsuit is premised on his purported
12   injury from not having a racket that is identical to Murray’s racket.7 Incredibly, Ono
13   knows very little about Murray—his tennis idol who purportedly was the sole reason that
14   he bought on “impulse” the racket needed to bring this lawsuit. Id. at 126:12-16, 119:11-
15   13. Ono, the alleged Murray “fan,” cannot recall any tournaments he watched Murray
16   play in, has never been on Murray’s website, and does not know when Murray won
17   Wimbledon (2013)—a match that was one of the most anticipated, followed, and
18   discussed in history. Id. at 154:21-155:3, 249:15-19. Further, unlike the customers he
19   seeks to represent, Ono shares a special relationship with the putative class action counsel
20   Dan Alberstone. Ono met Alberstone at the tennis club where he worked several years
21   before he bought his Head racket. Id. at 142:4-143:20. Ono has since played tennis with
22   counsel on multiple occasions. Id. 138:9-22, 144:6-23.
23         Given Ono’s relationship with his counsel, along with a number of other aspects of
24   his alleged purchase, the circumstances of when and why Ono purchased his racket are
25
     7
26   Ono also feigns indifference to the most influential customization made by every
   unstrung racket purchaser—strings and string tension. He has tried string tensions ranging
27
   from 46-54 pounds of tension and selected 52 pounds as “just [a] random number that I
28 felt that I wanted to string my racket at.” Id. at 81:10-83:13.
                                                    15
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   suspect. Ono previously purchased rackets strictly based on what his boss told him and he
 2   took advantage of the substantial discounts offered by his tennis club. Id. at 87:13-88:4,
 3   105:4-25. Even though he likely could have bought the Head YouTek IG Radical Pro
 4   racket with an employee discount, Ono purchased the racket, purportedly on “impulse,”
 5   for full price at the Indian Wells tournament, paid cash for the racket, and does not have a
 6   receipt. Id. at 114:3-115:18. 8
 7                4.    The Statements Ono Purportedly Relied on Are Not Representative
 8         Ono claims he believed Murray played with the identical YouTek IG Radical Pro

 9   model that he purchased based on Head’s advertising, specifically one Head advertisement

10   he saw while casually flipping through Tennis Magazine in a bookstore in 2012 or
11   “possibly 2011,” a few press releases appearing on Head’s website, and two YouTube
12   videos. Id. at 157:4-160:17. But these materials were so insignificant that during
13   deposition he could not recall the specifics of any of them.
14         From 2011-2012, Head placed three different advertisements featuring Murray in
15   Tennis Magazine. APPX. Exs. 38-22, 38-23, 38-24 at APPX325-29. One was for “Andy

16   Murray’s Weapon of Choice YouTek Radical Pro,” a different racket from the YouTek IG
17   Radical Pro that Ono allegedly purchased. APPX. Ex. 38-22 at APPX325. Two promote
18   the YouTek IG Radical racket line generally and do not reference Ono’s model or state
19   that Murray plays with any particular model. APPX. Exs. 38-22, 38-23 at APPX327-29.

20   One of the YouTube videos9 Ono allegedly saw was not released by Head. The video

21   shows Murray practicing with a YouTek Radical racket, not the YouTek IG Radical Pro

22   that Ono purchased. It does not identify any particular version of that racket (i.e., Pro,

23
     8
24    It is also curious that Ono purchased a high-end Babolat racket around the same time a
     class action lawsuit was filed against Babolat. APPX. Ex. 43 at 87:2-12. The Ahdoot v.
25   Babolat VS North America, Inc. case, which, unlike this case, also involved a claim that
26   Babolat falsely represented that its rackets contain tungsten, recently settled. APPX. Ex.
     59.
27   9
     APPX. Ex. 43 at 244:17-246:11; https://www.youtube.com/watch?v=aBMA_syOLWg
28 (released by European division of Tennis Warehouse in 2009) (last visited May 11, 2015).
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28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   MP, Rev, S) or state that Murray plays with the racket depicted in competition play. The
 2   second video shows Murray discussing a “Radical” racket.10 Murray says he tested the
 3   Radical when he was “13 maybe 14” years old and “never wanted to change.” This is
 4   true: Murray plays with a customized racket frame used for Radical rackets that were
 5   available to the public.
 6         Finally, of the press releases that Ono allegedly saw, only one references the model
 7   he bought. APPX. Ex. 38-21 at APPX322-23. The release quotes Murray stating “I’ve
 8   played with the Radical since I was 13 and I never wanted to change since…with the new
 9   YouTek IG Radical Pro, I feel I have a lot more variety in my game.” Id. Ono initially
10   testified that he did not rely on the press releases at all when buying his racket. After
11   meeting with his counsel during a break, however, he “clarified” that he relied on the
12   totality of Head’s advertising for purposes of his purchasing decision. APPX. Ex. 43 at
13   231:4-232:1. This is inconsistent with Ono’s testimony that he purchased his Head racket
14   on “impulse” after seeing Murray practice with the racket at the Indian Wells tournament.
15   In any event, Head’s press releases have very limited public exposure.        Redacted
16                                 Redacted
                                                                             11
                                                                                  APPX. Ex. 38 at
17   APPX268.
18   II.   THE REQUIREMENTS OF RULE 23(a)
19         A.  Commonality
20             1.  Plaintiff’s Position: Commonality Is Satisfied Because this Case Is
                   about a Common Advertising Campaign which Gives Rise to
21                 Common Questions which Are Subject to Common Proof
22         It is not necessary that “[a]ll questions of fact and law . . . be common to satisfy

23   [Rule 23(a)(2)].” Johnson, 275 F.R.D. at 289 (quoting Hanlon v. Chrysler Corp., 150

24   10
      See https://www.youtube.com/watch?v=fqKLFdAke10 (last visited May 11, 2015);
25   APPX. Ex. 43 at 192:1-7.
     11
26   Ono’s expert reports of Azari and Sanders are unreliable and should be accorded no
   weight. Moreover, Azari, who is a lawyer and a director of “legal noticing,” is not
27
   qualified to offer expert opinions on advertising and marketing. Fed. R. Evid. 401, 403,
28 702; Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993).
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28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   F.3d 1011, 1019 (9th Cir. 1998)). Instead, “[w]hat matters to class certification is . . . the
 2   capacity of a classwide proceeding to generate common answers apt to drive the
 3   resolution of the litigation.” Wal–Mart Stores, Inc., 131 S.Ct. at 2551. Commonality
 4   under Rule 23(a)(2) can be established by demonstrating that Plaintiff and class members’
 5   claims “depend on a common contention . . . [that is] capable of classwide resolution --
 6   which means that determination of its truth or falsity will resolve an issue that is central to
 7   the validity of each one of the claims in one stroke.” Id. However, a “[p]laintiff need not
 8   show that every question in the case, or even a preponderance of questions, is capable of
 9   classwide resolution. So long as there is ‘even a single common question,’ a would-be
10   class can satisfy the commonality requirement of Rule 23(a)(2).” Wang v. Chinese Daily
11   News, Inc., 737 F.3d 538, 544 (9th Cir. 2013) (quoting Wal-Mart, 131 S.Ct. at 2556).
12         Here, all of the class members’ claims share the same fundamental premise: Head
13   materially misrepresents to consumers that each of the Tour-Line Racquets are used in
14   competition by Head’s Paid Professionals. If Plaintiff can prove that Head’s
15   representations are misleading because Head’s Paid Professionals do not actually play
16   with the Tour-Line Racquets, members of the putative class will be entitled to relief under
17   each of Plaintiff’s claims. Because a determination of the truth or falsity of Head’s
18   material representations regarding the Tour-Line Racquets will resolve an issue that is
19   central to the validity of each one of the claims in one stroke, Plaintiff has sufficiently
20   shown there exists a common question of law or fact.
21         Head’s President and 30(b)(6) designee, Mr. Greg Mason,             Redacted
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28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   (APPX. Ex. at P. 74 (Mason 81:1-9 (objection omitted)).) Additionally, it is undisputed
 2   that the reams of press releases issued by Head during the class period contain repeated
 3   instances of misrepresentations. (See APPX. Exs. 3,5-13, 29 (exemplar Head press
 4   releases and advertisements containing misrepresentations).)
 5         Moreover, to the extent Head contends that Plaintiff’s claims cannot be certified
 6   because consumers had different motivations for purchasing the Tour-Line Racquets,
 7   courts have held that “variation among class members in their motivation for purchasing
 8   the product, the factual circumstances behind their purchase, or the price that they paid
 9   does not defeat the relatively ‘minimal’ showing required to establish commonality.” Ries
10   v. Arizona Beverages USA LLC, 287 F.R.D. 523, 537 (N.D. Cal. 2012); see also In re
11   Ferrero Litigation, 278 F.R.D. 552, 558 (S.D. Cal. 2011) (finding commonality where
12   claims were based on “common advertising campaign”). Contrary to Head’s contention,
13   whether the misrepresentations made by Head were reasonably relied upon by class
14   members is subject to common proof:
15                [T]he UCL, FAL, and CLRA . . . allow[] [p]laintiffs to establish
                  the required elements of reliance, causation, and damages by
16                proving that [d]efendants made what a reasonable person would
17                consider a material misrepresentation. As such, whether or not
                  Defendants' claims are misleading is an objective, classwide
18                inquiry for purposes of the UCL, FAL and the CLRA.
19   Forcellati, 2014 WL 1410264, at *9; see also, Stearns v. Ticketmaster Corp., 655 F.3d
20   1013, 1022 (9th Cir. 2011) (“[C]ausation, on a class-wide basis, may be established by
21   materiality. If the trial court finds that material misrepresentations have been made to the
22   entire class, an inference of reliance arises as to the class.”) And, although the Forcellati
23   court limited in its discussion to statutory claims, the same standard applies to common
24   law fraud and negligent misrepresentation claims. In re Brazillian Blowout Litigation,
25   2011 WL 10962891, at *8 (C.D. Cal. Apr. 12, 2011) (“Although [p]laintiffs must prove
26   actual reliance as an element of their fraud and negligent misrepresentation claims,
27   reliance may be presumed as to the entire [c]lass if [d]efendant’s misrepresentations or
28 omissions were material.”) (citing Vasquez v. Superior Court, 4 Cal. 3d 800, 814 (1971)).
                                                    19
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1                2.    Defendants’ Position: Ono Cannot Establish Commonality

 2         Under Supreme Court precedent, plaintiff’s claims “must depend upon a common

 3   contention” to satisfy the commonality requirement. Wal-Mart Stores, Inc., 131 S. Ct. at

 4   2551. “What matters to class certification ... is not the raising of common ‘questions’—

 5   even in droves—but, rather the capacity of a class wide proceeding to generate common

 6   answers apt to drive the resolution of the litigation.” Id. Plaintiff must “demonstrate that

 7   the class members ‘have suffered the same injury.”’ Id.

 8         Ono questions whether tennis players endorsing Head rackets actually play in

 9   competition with the rackets advertised. That question is not “common” to the class.

10   Most of Head’s advertisements did not claim that an athlete used a particular racket in

11   competition. Red v. Kraft Foods, Inc., No. CV 10-1028, 2011 WL 4599833, at *9-10

12   (C.D. Cal. Sept. 29, 2011) (class action targeted different allegedly misleading statements

13   and plaintiffs failed to meet the commonality requirement because the “common question”

14   was “too fragmented.”). And Ono’s reliance on press releases found on Head’s website is

15   misplaced because those posts received minimal exposure.

16         In Mazza v. Am. Honda Motor Co., 666 F. 3d 581, 596 (9th Cir. 2012) the Court

17   held that “only members who were exposed to advertising that is alleged to be materially

18   misleading” may be included in the class. Otherwise reliance on the purportedly false

19   advertising is not a common question. Id. The Court found that “Honda’s product

20   brochures and TV commercials fall short of the ‘extensive and long-term [fraudulent]

21   advertising campaign’ at issue in Tobacco II … and this difference is meaningful.” Id.

22   There is no evidence here that Head’s advertising was more extensive or uniform than the

23   Honda campaign in Mazza. Accordingly, “[a] presumption of reliance does not arise” and

24   “an individualized case must be made for each member showing reliance.” Id.

25         For the Redacted of consumers who might have seen and relied on a representation that

26   a professional plays with a specific racket in competition, there is no evidence that they

27   suffered a common injury.                             Redacted

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28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1                       Redacted                        APPX. Ex. 44 at APPX470-81. Ono
 2   cannot show that the question of whether the endorsers of Head rackets actually played
 3   competitively with them “is provable on a class wide basis,” and not an individual racket
 4   model and endorser basis. APPX. Ex. 60 at APPX1033. Any proof Ono may present as
 5   to the advertising he allegedly viewed before his purchase and his resultant expectations
 6   will not resolve these critical class questions: (1) what advertisements, if any, did other
 7   putative class members view before purchasing, (2) did the class members believe the pro
 8   player in the ad plays with the same racket available at retail, (3) was the racket advertised
 9   substantially the same or similar to the racket used by the pro, and (4) were those
10   representations material to consumer purchases (and, if so, to what degree)?
11   Consequently, Ono cannot establish commonality.
12         B.     Typicality
13                1.   Plaintiff’s Position: Plaintiff Satisfies the Typicality
                       Requirement12
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           Rule 23(a)(3)’s “typicality requirement is to assure that the interest of the named
15
     representative aligns with the interests of the class.” Wolin v. Jaguar Land Rover North
16
     Am., LLC, 617 F.3d 1168, 1175 (9th Cir. 2010). Accordingly, “[t]he test of typicality ‘is
17
     whether other members have the same or similar injury, whether the action is based on
18
     conduct which is not unique to the named plaintiffs, and whether other class members
19
     have been injured by the same course of conduct.’” Ellis v. Costco Wholesale Corp., 657
20
     F.3d 970, 984 (9th Cir. 2011) (quoting Hanlon, 976 F.2d at 508). This requirement is
21
     satisfied as long as Plaintiff’s claims are “reasonably co-extensive with those of absent
22
     class members; they need not be substantially identical.” Hanlon, 150 F.3d at 1020.
23
           The typicality requirement is easily met in this case. Critically, in purchasing one
24
     of the Tour-Line Racquets, Plaintiff and putative class members were injured by the
25
     12
26   Defendant’s expert report of Poret is irrelevant and lacks foundation. Fed. R. Evid. 401,
   403, and 901(a). Moreover, Poret not qualified to offer expert opinions on each of the
27
   topics for which he provides an opinion. Fed. R. Evid. 702; Daubert v. Merrell Dow
28 Pharms., Inc., 509 U.S. 579 (1993).
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28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   “same course of conduct” -- Head’s player-centric campaign. (See APPX. Ex. 35
 2   (Sanders Decl. at ¶¶ 5, 10-25).) In fact, the Ninth Circuit recently recognized that a false
 3   endorsement by a professional athlete is a proto-typical example of a false advertising-
 4   based claim. See Hinojos, 718 F.3d at 1106. Specifically, in Hinojos, the court listed
 5   several examples of actionable misstatements, including falsely claiming that shoes are
 6   “the same model of shoe worn by LeBron James.” Id. The court noted that such a
 7   practice is an “example[] [of] [an] effective marketing technique[] that, if false, can be
 8   used to deceive consumers into making purchases they would not otherwise make.” Id.
 9         There can be no real dispute that Plaintiff and the class members have been injured,
10   and their interests align. This is true even if class members shared different motivations
11   for purchasing the Tour-Line Racquets. Forcellati, 2014 WL 1410264, at *10
12   (“Defendants argue that [p]laintiff’s claims are atypical because their children differ from
13   the ‘average child taking the products.’ This argument fundamentally misunderstands the
14   typicality inquiry, which turns on [p]laintiffs’ legal theory, not the ‘specific facts from
15   which it arose.’”) (quoting Hanon v. Dataproducts Corp., 976 F.2d 497, 509 (9th Cir.
16   1992)); see also, Astiana v. Kashi Co., 291 F.R.D. 493, 502-03 (S.D. Cal. 2013 (“That
17   [p]laintiffs may have considered other factors in their purchasing decisions does not make
18   them atypical. . . . Plaintiffs need not show that the representations were the only cause,
19   or ‘even the predominant or decisive factor,’ influencing their conduct.”) (quoting In re
20   Tobacco II Cases, 46 Cal.4th at 326–27).
21         Plaintiff and all class members share a common interest in establishing that the
22   Tour-Line Racquets are not, in fact, used by Head’s Paid Professionals. Plaintiff and all
23   putative class members are entitled to the same type of damages as a result of Head’s
24   conduct, restitutionary disgorgement of the ill-gotten gains (UCL, FAL, CLRA and unjust
25   enrichment claims), damages (fraud, negligent misrepresentation, and breach of express
26   warranty claims) and an injunction to force Head to stop misrepresenting that Head’s Paid
27   Professionals use the Tour-Line Racquets when, in fact, they do not.
28
                                                    22
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1         Head also contends that Plaintiff is not typical because he did not purchase each and
 2   every one of the Tour-Line Racquets. However, in order to satisfy the typicality
 3   requirement, the representative plaintiff need not purchase each variation of the product in
 4   a line, so long as the representations made by the defendant are substantially similar for
 5   the various products. See, e.g., Chavez v. Blue Sky Natural Beverage Co., 268 F.R.D. 365,
 6   378 (N.D. Cal. 2010) (defendant argued that plaintiff’s claims were atypical because he
 7   did not purchase each product in the Blue Sky beverage line, but the court found that
 8   although the challenged product line contained several variations, the plaintiff’s claims
 9   were “‘reasonably coextensive with those of absent class members.’”) (quoting Stanton,
10   327 F.3d at 957). Also, in Forcellati v. Hyland’s, Inc., 876 F.Supp.2d 1151, 1161-62
11   (C.D. Cal. 2012), Chief Judge King, in deciding a motion to dismiss, held that the
12   question of whether a class representative can maintain claims on behalf of consumers
13   who purchased products the representative did not purchase was a typicality issue. Then,
14   when presented the issue during class certification, Judge King ruled that a class
15   representative can represent a class of consumers even though he did not purchase each of
16   the products identified in the class, so long the “misrepresentations about the product[] are
17   uniformly made across Defendants’ product line.” Forcellati v. Hyland’s, Inc., 2014 WL
18   1410264, at *10 (C.D. Cal. April 9, 2014).
19         Here, Plaintiff Ono purchased a Tour-Line Racquet, the YouTek Radical Pro
20   because, consistent with Head’s uniform campaign, he was led to believe that is the
21   racquet that Andy Murray played with. (Ono Depo. at 111:25-112:5.) He testified that he
22   saw the broad range of media where Head communicated its uniform misrepresentations,
23   including Head YouTube videos, press releases, internet articles, magazine
24   advertisements, and he saw Andy Murray in person play with what he believed was a
25   YouTek Radical Pro because, consistent with Head’s uniform message strategy,
26                     Redacted                      (Id. at 157:4-14.) And, while he did not
27   purchase each and every one of the Tour-Line Racquets, the false statements regarding
28 these racquets are all part of Head’s uniform campaign. (APPX. Ex. 35 (Sanders Decl. at
                                                   23
28                                JOINT BRIEF RE: CLASS CERTIFICATION

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 1   ¶¶ 5.b, 14-19).) It cannot reasonably be disputed that Plaintiff is typical of class members
 2   who purchased any one of the Tour-Line Racquets.
 3                2.     Defendants’ Position: Ono Fails the Typicality Requirement
 4         Ono cannot satisfy the typicality requirement because of his unique background, the
 5   atypical course of events surrounding his purchase of the YouTek IG Radical Pro, and his
 6   anomalous purchasing behavior. Related to typicality (or lack thereof), Ono testified that:
 7   (1) he sold tennis rackets for twenty years as a pro-shop employee, ran demo days, and
 8   played competitive tennis, but he purchased a Head Youtek IG Radical Pro on impulse
 9   because he thought it was the racket he saw Murray play with and he likes Murray;
10   (2) whether Murray played with the IG Radical Pro did not convey anything about racket
11   quality, playability, or performance or whether it would make Ono a better player; and
12   (3) Ono did not need a racket when he purchased the IG Radical Pro because he had high-
13   end rackets from Wilson and Babolat that to him are essentially indistinguishable from the
14   Head racket. APPX. Ex. 43 at 34:2-19, 38:2-8, 63:21-64:4, 112:16-24, 119:7-13. To
15   Ono, the Head YouTek IG Radical Pro was a souvenir commemorating his visit to the
16   Indian Wells tournament where he saw Murray practice. Neither Ono, nor his reason for
17   purchasing his IG Radical Pro, nor the importance he places on whether Murray played
18   with the racket, is typical of anyone else in the class.
19         In Hanon, on which Ono relies, the Ninth Circuit denied certification for lack of
20   typicality because “[plaintiff]’s unique background and factual situation require[d] him to
21   prepare to meet defenses that [were] not typical of the defenses which may be raised
22   against other members of the proposed class.” 976 F.2d at 508. His reliance on the
23   integrity of the market would be subject to serious dispute as a result of his “extensive
24   experience in prior securities litigation, his relationship with his lawyers,” and his atypical
25   purchase habits. Id. See also, Stearns, 655 F.3d at 1019-20 (9th Cir. 2011) (rejecting
26   class representative because he was too “far from typical of the class”).
27         The circumstances of Ono’s purchase are atypical and raise unique defenses. For
28 standing, Ono must have purchased his racket not knowing whether Murray used it in
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28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   competitive play. Ono, who knew Plaintiff’s counsel before his alleged purchase and who
 2   could have purchased his racket at a significant discount through his employer, allegedly
 3   bought the racket at full price at a tennis tournament for cash and without proof of
 4   purchase. APPX. Ex. 43 at 114:3-115:18. Absent such proof, only Ono’s self-serving
 5   testimony can establish actually where and when he bought the racket. Because the
 6   timing of purchase is critical to whether Ono is truthful about his personal knowledge at
 7   the time of purchase, Ono would have to, like the Hanon plaintiff, “meet defenses that are
 8   not typical of the defenses which may be raised against other members of the proposed
 9   class.”
10           Ono’s anomalous purchasing behavior also makes him atypical. In Algarin v.
11   Maybelline, LLC, 300 F.R.D. 444, 450 (S.D. Cal. 2014), plaintiffs claimed to have been
12   deceived into purchasing Maybelline’s lipstick and foundation “in reliance on the claimed
13   24 hour staying power.” Maybelline’s consumer survey informed “who the reasonable
14   consumer in the target audience [was] and what dr[ove] her in making purchasing
15   decisions.” Id. at 453. The survey revealed “duration was not the only motivating factor
16   in making the purchases,” “4% of the total sample expected the specific 24 hour duration,”
17   and “only 9% of the total sample were one-time purchasers who expected the product to
18   last 24 hours and thus [were] ‘injured’ in the manner alleged by Plaintiffs.” Id. at 453-54.
19   The court denied certification, finding the survey “show[ed] that materiality and reliance
20   varie[d] from consumer to consumer.” Id. at 457. Plaintiffs failed the typicality
21   requirement; their “reliance on the alleged misrepresentations was not typical of other
22   class members” and they could not show that “other members ha[d] the same or similar
23   injury.” Id. at 458.
24           Similarly, Ono’s “reliance on the alleged misrepresentations [is] not typical of other
25   class members.” Ono purportedly purchased his Head racket based “solely” on the
26   representations that Andy Murray played with the racquet in competitive play. 13 Ono did
27
     13
28        APPX. Ex. 45 at APPX501-02; APPX. Ex. 43 at 111:17-19, 125:16-126:16.
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28                                  JOINT BRIEF RE: CLASS CERTIFICATION

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 1   not look at any racket specifications; did not read any reviews for the racket; did not
 2   conduct any research; did not try the racket; and did not talk to any seller, coach, or other
 3   player about the racket. APPX. Ex. 43 at 122:20-123:5, 128:19-129:24, 164:24-165:25.
 4         This is not typical of how a consumer purchases a tennis racket.
 5                                            Redacted
 6
 7                        APPX. Ex. 53-1 at APPX621.                     Redacted
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 9
10                                 Accordingly, only at most Redacted of consumers could possibly
11   have been “‘injured’ in the manner alleged by Plaintiffs.” Maybelline, 300 F.R.D. at 454.
12         The industry studies concur. The 2010 TIA report showed that professional use
13   influenced new racket choices of only 3% of respondents. APPX. Ex. 40 at APPX346. In
14   the 2011, 2012, 2013, and 2014 reports, endorsement was the least important factor to
15   consumers when choosing a new racket. APPX. Ex. 41 at APPX379, APPX. Ex. 46 at
16   APPX516, APPX. Ex. 47 at APPX542, APPX. Ex. 48 at APPX561. Similarly, in 2011,
17   only 2% of survey respondents who switched brands cited use by top players as a reason
18   for doing so. APPX. Ex. 41 at APPX348. These percentages are even lower than the 4%
19   and 9% found insufficient for typicality in Maybelline.
20         Ono’s atypical reliance on the alleged misrepresentation distinguishes this case
21   from Forcellati (the case Ono primarily relies on). Forcellati did not address the
22   typicality of reliance on advertising misrepresentations. Rather, plaintiffs argued that all
23   homeopathic preparations are inherently worthless. 2014 WL 1410264, at *9-10. Thus,
24   the typicality of plaintiffs’ children was irrelevant and immaterial to “prov[ing] the
25   general inefficacy of homeopathy.” Id.
26         Ono purchased only one racket model and has not purchased any other Head “Tour”
27   rackets, which are designed for different types of players and are promoted with different
28 pros using distinct and specialized advertising claims. Weiner v. Dannon Co., 255 F.R.D.
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28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   658, 666 (C.D. Cal. 2009) (“In cases involving a variety of products, courts, emphasizing
 2   that different products have different functions and different consumers, have held that a
 3   named plaintiff that purchased a different product than that purchased by unnamed
 4   plaintiffs fails to satisfy the typicality requirement”). Ono moves to certify a class that
 5   purchased 24 unique racket models in 5 different lines (Extreme, Speed, Radical, Instinct,
 6   and Prestige) that have changed over the alleged class period.14 As explained in Ahdoot v.
 7   Babolat, Order Re: Motion to Dismiss 5, Dkt # 18, CV 13-02823 (C.D. Cal. Sept. 6, 2013)
 8   (alleging the same claims against another racket manufacturer) the suit “centers on the
 9   premise that the publicly available racquets differ from the ones used by the professional
10   tennis player associated with that racquet,” and “[i]t is therefore significant that ‘[t]he
11   racquets … vary by size, weight, and composition, and are targeted at different players,
12   categorized by experience, gender, and age.” APPX. Ex. 57 at APPX959. “They are
13   specialized products and not just a generic racquet with different ‘flavors.’” Id.15
14         Ono cites cases holding that plaintiff need not buy each product in the class “as long
15   as the ‘misrepresentations about the product[] are uniformly made across Defendants’
16   product line.’” Forcellati, 2014 WL 1410264, at *10. But where different products are
17   advertised with distinct claims, typicality is not met. Weiner, 255 F.R.D. at 666 (refusing
18   to certify a class of different dairy products with probiotic bacteria, advertised with
19   allegedly false health benefits, where plaintiff only purchased one product); Major v.
20   Ocean Spray Cranberries, Inc., 12cv03067, 2013 WL 2558125, at *4 (N.D. Cal. June 10,
21   2013) (“demonstrative of Plaintiff’s failure to meet the Rule 23(a) typicality requirement
22   is the fact that the labels and nutrition claims on each of Defendant’s products may be
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     14
                                              Redacted
24
25
     15
26   The Babolat Court dismissed the complaint as to rackets not purchased for lack of
   Article III standing. APPX. Ex. 57 at APPX959-60. On Head’s Article III motion, this
27
   Court held the “argument is better taken under the lens of typicality or adequacy of
28 representation, rather than standing.” Order, Dkt. # 59, May 21, 2014.
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28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   unique to that product itself”).
 2         Here, no misrepresentations were “uniformly” made across the Radical racket line
 3   alone, much less the two dozen different racket models spanning five different lines.
 4   Rather, purported class members were exposed to a variety16 of distinct statements from
 5   different sources. Not only do the ad claims differ, but the level of customization of the
 6   rackets pros use in competition varies too.                   Redacted
 7
 8
 9
10             APPX. Ex. 44 at APPX470-81.
11         The cases relied on by Ono are inapplicable because they involved (1) the same
12   exact misrepresentations uniformly made on product labels or (2) products that had the
13   exact same manufacturing defect. Kashi, 291 F.R.D. at 502 (“Plaintiff and class members
14   … were all exposed to the same alleged misrepresentations on the packages and
15   advertisements”); Chavez, 268 F.R.D. at 378 (challenged representations were “made on
16   every Blue Sky container” and “plaintiff alleg[ed] that all the Blue Sky beverages bore
17   substantially the same misrepresentations”); Hewlett-Packard, 167 Cal. App. 4th at 90
18   (same exact defect in laptop inverters causing dim displays)17; and Wolin, 617 F.3d at
19
     16
       APPX. Ex. 38-8 at APPX285, “Maria and Novak know the right equipment gives them
20
     a competitive edge on the courts—that’s why they play with HEAD racquets and Penn
21   tennis balls”; APPX. Ex. 38-12 at APPX293, “Gilles Simon. Tommy Haas. YouTek
     Prestige. Take on Anybody—Anytime!”; APPX. Ex. 38-13 at APPX295, “Andy Murray.
22
     YouTek Radical Series.”
23   17
     Ono violated the parties’ meet-and-confer agreement that after receiving Head’s portion
24 of the joint brief Ono would only “provide [Ono’s evidentiary] objections where
   appropriate,” without substantively changing the brief. APPX753. Having received
25
   Head’s portion of the brief, however, Ono made multiple last-minute substantive changes,
26 including deleting cases that it had asserted earlier (e.g., the Hewlett-Packard case that
   Head distinguished in its section) and adding new, previously undisclosed evidence (e.g.,
27
   footnote 20). As it has no other choice given the last-minute nature of Ono’s conduct,
28 Head will address these changes substantively in supplemental briefing.
                                                    28
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   1175 (all class members injured by the same “defective alignment geometry in the
 2   vehicles”).
 3         Ono’s reliance on Hinojos (plaintiff alleged merchandise was falsely marketed as
 4   “on sale”) is also misplaced. 718 F.3d at 1105. In Hinojos, the Ninth Circuit reversed the
 5   dismissal of a false advertising claim based on the district court test that limited false
 6   advertising to “composition, effects, origin and substance” claims. Id. at 1105-1107. In
 7   dicta, the Court described other potential false advertising claims that might be pled
 8   unrelated to “composition, effects, origin and substance,” including endorsement claims.
 9   Id. Ono has pled such a claim, but this is not a motion to dismiss. The sufficiency of the
10   pleadings is not at issue and Hinojos is silent as to whether plaintiff’s understanding of
11   and reliance upon the advertised “sale” was typical of the putative class. The Ninth
12   Circuit did not hold that such a claim is capable of class certification, much less that an
13   atypical plaintiff like Ono can satisfy the requirements of Rule 23.
14         C.      Adequacy of Representation
15                 1.   Plaintiff’s Position: Adequacy of Representation Is Satisfied by
                        Plaintiff
16
           During the meet and confer, the only challenge to adequacy raised by Head was
17
     based on Head’s insinuation, without any evidence, that Plaintiff’s testimony regarding his
18
     Tour-Line Racquet purchase is not credible. However, Head’s feigned concerns are not
19
     sufficient to defeat Plaintiff’s adequacy as a class representative. Only “[i]n rare
20
     circumstances, a plaintiff’s lack of credibility may undermine his or her adequacy as a
21
     class representative. However, ‘[f]or an assault on the class representative’s credibility to
22
     succeed, the party mounting the assault must demonstrate that there exists admissible
23
     evidence so severely undermining plaintiff’s credibility that a fact finder might reasonably
24
     focus on plaintiff’s credibility, to the detriment of the absent class members’ claims.’”
25
     Mendez et al. v. R+L Carriers, Inc. et al., 2012 U.S. Dist. LEXIS 165221, at *39 (N.D.
26
     Cal. Nov. 19, 2012) (quoting Dubin v. Miller, 132 F.R.D. 269, 272 (D. Colo. 1990)).
27
     Head has no evidence to support such a finding. There is no basis for the Court to
28
                                                    29
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   question Plaintiff’s adequacy.
 2                2.     Defendants’ Position: Ono Is Not a Credible Class Representative
 3         “The honesty and credibility of a class representative is a relevant consideration
 4   when performing the adequacy inquiry ‘because an untrustworthy plaintiff could reduce
 5   the likelihood of prevailing on class claims.’” Harris v. Vector Mktg. Corp., 753 F. Supp.
 6   2d 996, 1015 (N.D. Cal. 2010); In re Computer Memories Secs. Litigation, 111 F.R.D.
 7   675, 682 (N.D. Cal. 1986) (stating that “it is self evident that a Court must be concerned
 8   with the integrity of individuals it designates as representatives for a large class of
 9   plaintiffs”). Based on the evidence, Head questions Ono’s veracity regarding the critical
10   issue of his purchase of the Youtek IG Radical Pro racket that gives him standing to
11   pursue his case, including when and where he purchased the racket and whether he had
12   knowledge of the issues presented in this case at the time of purchase.
13         Ono has no proof of when and where he bought his Radical Pro. He claims he
14   bought it for the full retail price of $180 in cash at the Indian Wells tournament and
15   discarded his receipt. APPX. Ex. 43 at 114:13-115:5. He could have bought the racket at
16   a discount from his employer. Id. at 115:6-21. And Ono, who knew Plaintiff’s counsel
17   from before buying his racket, claims he first learned that Murray did not play with the
18   Youtek IG Radical Pro when he overheard a conversation between unidentified people at
19   the tennis club. Id. at 146:19-147:11. But he has no proof whether that conversation took
20   place before or after his alleged purchase. Ono also claims to have purchased his racket
21   without any need for it and, conveniently for this case, based solely on his belief Murray
22   played with the exact same racket. A jury could reasonably believe Ono made the
23   purchase not based on any misrepresentations by Head, but simply to bring this case. See,
24   e.g., Buckland v. Threshold, 155 Cal. App. 4th 798 (2007) (dismissing case where
25   plaintiff’s testimony showed that she purchased the product to bring a lawsuit).
26
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                                                    30
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1         D.     Ascertainability
                  1.   Plaintiff’s Position: Plaintiff’s Proposed Class Is Ascertainable
 2
           A class is sufficiently ascertainable if “the proposed class definition allows
 3
     prospective plaintiffs to determine whether they are class members with a potential right
 4
     to recover.” Parkinson v. Hyundai Motor America, 258 F.R.D. 580, 593-94 (C.D. Cal.
 5
     2008). “While the identity of the class members need not be known at the time of
 6
     certification, the class definition must [be] ‘definite enough so that it is administratively
 7
     feasible for the court to ascertain whether an individual is a member.” O’Connor v.
 8
     Boeing North American, Inc., 184 F.R.D. 311, 319 (C.D. Cal. 1998).
 9
           Here, as discussed above, Plaintiff’s proposed class is defined as follows:
10
                  All residents of California who purchased Tour-Line Racquets
11                during the period of January 1, 2006, continuing through the
                  date of final disposition of this action.
12
     To confirm membership in the putative class, individuals need only determine if they
13
     purchased a Tour-Line Racquet during the relevant time period. This is enough to satisfy
14
     Rule 23(a)’s implied ascertainability requirement. See McCrary v. Elations Co., LLC,
15
     2014 WL 1779243, at *8 (C.D. Cal. Jan. 13, 2014) (holding that the class was sufficiently
16
     ascertainable because “the class definition clearly define[d] the characteristics of a class
17
     member by providing a description of the allegedly offending product and the eligible
18
     dates of purchase”); Guido v. L’Oreal, USA, Inc., 2013 WL 3353857, at *18 (C.D. Cal.
19
     July 1, 2013) (holding that the class was sufficiently ascertainable where “the requirement
20
     for membership in the class [was] whether a consumer purchased a product after a
21
     particular date”).
22
           Courts in the Ninth Circuit hold that self-identification of class members in
23
     situations where there are a large group of injured retail consumers who purchased a
24
     product and suffered a relatively small individual harm is appropriate and often the only
25
     effective method available for justice. As explained by Chief Judge King:
26
                  [r]elying primarily on the Third Circuit’s reasoning in Carrera
27                v. Bayer Corp., 727 F.3d 300 (4d Cir. 2013), [d]efendants
                  contend that [because there are no records to confirm class
28                membership, there is an] inability to feasibly ascertain the
                                                  31
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1                identity (not the existence) of class members should preclude
                  class certification because: (i) a self-identified class deprives
 2                [d]efendants of their due process rights to challenge individual
                  members’ claims; (ii) the finality of any judgment would be
 3                undermined because class members could later assert that
 4                fraudulent claims diluted their recovery; and (iii) the challenges
                  in confirming class membership make a class action an inferior
 5                method of adjudicating this controversy. We disagree. Given
                  that facilitating small claims is “[t]he policy at the very core
 6                of the class action mechanism,” Amchem products, Inc. v.
                  Windsor, 521 U.S. 591, 617, 117 S. Ct. 2231, 138 L. Ed. 2d
 7                689 (1997), we decline to follow Carrera. See McCrary, 2014
 8                U.S. Dist. LEXIS 8443, at *24 (“Carrera eviscerates low price
                  consumer class actions in the Third Circuit . . . . While this
 9                may now be the law in the Third Circuit, it is not currently
                  the law in the Ninth Circuit.”).
10
     Forcellati, 2014 WL 1410264, at *5 (emphasis added.)
11
           Indeed, courts in this Circuit routinely certify classes consisting of purchasers of
12
     low-dollar consumer products, like the class proposed by Plaintiff here. See, e.g.,
13
     McCrary, 2014 WL 1779243, *8-9 (rejecting the Third Circuit’s holding in Carrera, and
14
     holding that a class of retail purchasers of an over-the-counter supplement, who did not
15
     have receipts, was sufficiently ascertainable); Guido, 2013 WL 3353857, at *18-19 (class
16
     of purchasers of L’Oreal products, including those who did not have receipts, was “easily
17
     identifiable”); Astiana, 291 F.R.D. at 500 (rejecting proof of purchase requirement and
18
     finding class of purchasers of Kashi products labeled “Nothing Artificial” to be
19
     ascertainable); Ries, 287 F.R.D. at 535 (rejecting proof of purchase requirement and
20
     finding ascertainability satisfied where class members were permitted to self-identify
21
     purchases of Arizona iced tea with “natural” on the label); Ziesel v. Diamond Foods, Inc.,
22
     2011 WL 222113, at *6 (N.D. Cal. June 7, 2011) (rejecting proof of purchase requirement
23
     and finding class of purchasers of Shelled Walnut products to be ascertainable); Chavez,
24
     268 F.R.D. at 377 (class of purchasers of beverage bearing disputed mark or brand was
25
     ascertainable).
26
           Here, the class of racquet purchasers can be notified by records from online retailers
27
     and by publication to targeted sources designed to reach as many class members as
28
                                                   32
28                                JOINT BRIEF RE: CLASS CERTIFICATION

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 1   practicable. In fact, in a similar case against another tennis racquet manufacturer, the
 2   Hon. Virginia Phillips finally approved a $4.5 million settlement, which included a class
 3   notice program based upon publication notice. See, APPX. Ex. 58 at APPX973,
 4   APPX988.
 5                2.    Defendants’ Position: Ono Cannot Ascertain Class Membership
 6                                              Redacted
 7               APPX. Ex. 38 at APPX264. Head has no records to identify California racket
 8   purchasers and Ono has not obtained this critical information. Thus, Ono fails to propose
 9   a manageable, objective, and fair way to ascertain class membership. In re Clorox
10   Consumer Litig., 301 F.R.D. 436, 440-42 (N.D. Cal. 2014).
11         Courts in the Ninth Circuit have declined to certify a class absent a viable way to
12   ascertain membership. See, e.g., In re POM Wonderful LLC, No. 10-02199, 2014 WL
13   1225184, at *6 (C.D. CA March 25, 2014) (“no way to reliably determine who purchased
14   Defendant’s products or when they did so”); Sethavanish v. ZonePerfect Nutrition Co.,
15   No. 12-2907, 2014 WL 580696 at *6 (N.D. Cal. Feb. 13, 2014) (“unclear how Plaintiff
16   intends to determine who purchased ZonePerfect bars ... [and] how Plaintiff intends to
17   weed out inaccurate or fraudulent claims”); Hernandez v. Chipotle Mexican Grill, Inc.,
18   No. 2:12-cv-05543, 2013 WL 6332002, at *2 (C.D. Cal. Dec. 2, 2013) (“very few people”
19   can provide information about when and where they purchased the product).18
20         Ono fails to show which retailers have sales records to California consumers from
21   which to identify class members. This is critical. Ono cannot testify precisely as to the
22   details of his own purchase. Ono has identified no method to “confirm membership in the
23   putative class.” Sethavanish, 2014 WL 580696 at *5 (requiring “method of identifying
24   absent class members”).
25
26
27
     18
     This is not to suggest that no consumer class action can be certified. The question
28 before this Court is based on the facts of this case, including Ono’s specific testimony.
                                                  33
28                                JOINT BRIEF RE: CLASS CERTIFICATION

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 1          This putative class cannot be identified via affidavit or testimony.19 The cases cited
 2   by Ono taking a different approach are unpersuasive where, as here, self-identification of
 3   class members has no indicia of accuracy. Ono has no evidence proposed class members
 4   possess receipts for purchases made up to nine years ago. It is unrealistic to assume they
 5   would. Ono does not even have a receipt from a 2012 purchase. During the class period,
 6   when similar cases were filed and publicized against Wilson and Babolat, Head added a
 7   disclaimer to its advertising addressing the idiosyncratic interpretation of its marketing
 8   advanced by Ono. The purported “falsity” of player endorsements was publicly known
 9   years ago. Ono has no way by which class members could identify with accuracy whether
10   they purchased rackets before or after this information was publicly available.
11   III.   THE REQUIREMENTS OF RULE 23(b)(3)
12          Plaintiff seeks certification under subsection Rule 23(b)(3).
13          A.    Predominance
14                1.   Plaintiff’s Position: Common Issues Predominate Regarding
                       Plaintiff’s Misrepresentation and Fraud Based Claims
15          Plaintiff’s claims for violation of the CLRA, UCL, FAL, Fraud and Negligent
16   Misrepresentation all require that the Plaintiff show that Head made false or misleading
17   representations. Whether Head’s claim that Head’s Paid Professionals actually played
18   with the Tour-Line Racquets, is false, unfair, deceptive, or misleading to a reasonable
19   consumer is the predominant question in this litigation.
20          Along with the press releases and articles described above, Head produced
21   marketing for social media, point of sale posters and racquet inserts consistently
22   conveying the same message. (APPX. Ex. 35 (Sanders Decl. at ¶¶ 5.b, 14-19).)         Redacted

23
24   19
     See Clorox, 301 F.R.D. at 440 (“Affidavits from consumers alone are insufficient to
25 identify members of the class.”); Xavier v. Philip Morris USA Inc., 787 F. Supp. 2d 1075,
   1089-90 (N.D. Cal. 2011) (“membership must be determinable from objective, rather than
26 subjective, criteria”); Rowden v. Pac. Parking Sys. Inc., 282 F.R.D. 581, 586 (C.D. Cal.
27 2012) (refusing to certify class who purchased parking with a credit card, where members
   would have to testify to prove membership via “tens of thousands of speculative
28 testimonials about parking transactions occurring five years ago”).
                                                34
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1                                       Redacted
 2
 3
 4
 5                               (APPX. Ex. 20 (Andy Murray Endorsement Agreement).)20
 6                                              Redacted
 7
 8                      (APPX. Ex. 15 at PP. 104-105 (Petersman 151:7-152:9); Ex. 21 (list of
 9   professional players and a corresponding retail racquet).) Thus, Head has infected the
10   entire online and retail sales process with its misrepresentation. In fact, Mason admitted
11   that                                   Redacted
12
13
14
15
16
17
18
19
20
21                ...
22
     20
     Moreover, in videos Head posts on YouTube as part of its marketing campaign, Murray
23
   refers to the Head Radical racquet and states: “this is the launch of the new racquet I will
24 be using next year” and “I’ve used the Radical for 12 years now.”
   (www.youtube.com/watch?v=kAXT0O4wluU at 0:12 and 0:55 (last visited March 28,
25
   2015).) Similarly, Sharapova refers to the Head Instinct racquet and states: “you know, I
26 have played with Instincts for a few years now.” (www.youtube.com/watch?v=a5Lh-
   sUQgDM at 0:16 and 1:20 (last visited March 28, 2015)) (The video also features a
27
   picture of Sharapova in a professional match with a racquet that is cosmetically painted to
28 look like a Head Graphene XT Instinct, and it ends with the Head name and logo.)
                                                    35
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1                                             Redacted

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17   (APPX. Ex. 4 at PP. 83-85 (Mason Depo. at 198:13-200:14 (objections omitted)).)21
18               2.     Defendants’ Position: Common Issues Do Not Predominate
19         The predominance criterion is demanding and rigorous. Comcast v. Behrend, 133
20   S. Ct. 1426, 1432 (2013). Certification is inappropriate if class members were exposed to
21   “quite disparate” information. See Stearns, 655 F.3d at 1020; APPX. Ex. 52 at APPX583.
22   Ono attempts to circumvent his burden by claiming Head’s advertising “consistently
23   convey[ed] the same message.” But each of the 24 different “Tour” racquets (with
24   variations based on model year) was advertised in different ways during the class period.
25
     21
26   See also, APPX. Ex. 22, exemplar online store product pages for Tour-Line Racquets
   containing misrepresentations that the Tour-Line Racquets are used by Head’s Paid
27
   Professionals, from Tenniswarehouse.com, Amazon.com, Midwestsports.com,
28 tennisexpress.com, racquetdepot.com, tennisplaza.com, tennis.com, fromuthtennis.com.
                                                   36
28                                JOINT BRIEF RE: CLASS CERTIFICATION

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 1            As in Wilson, potential “class members could have been exposed to one of many
 2   different kinds of allegedly deceptive information from a wide variety of sources.” Id.
 3   The court denied certification holding that class members could have relied on input as
 4   varied as Wilson’s catalog stating that the racket at issue was “Roger’s personal choice,”
 5   YouTube video stating that the racket was “actually the racquet of Roger Federer,” or
 6   “merely seeing Federer play tennis with what appeared to be the BLX Pro Staff Six.One
 7   90 racquet.” APPX584. The same holding is warranted here. Common issues did not
 8   predominate in Wilson with one racket model endorsed by a single pro player. Here, Ono
 9   seeks to certify a class of 24 different racket models from five “Tour” lines, endorsed by
10   at least 14 different pro players with differing degrees of customization over nine years.22
11            Head advertises each of its “Tour” racket lines differently. The Speed line “offers a
12   stiffer feel for hard hitters with a long, fast swing style,” the Extreme line “offers
13   increased power and spin for players with an aggressive long swing style,” the Instinct
14   line “makes it easier to swing fast and hit powerful shots,” the Prestige line is “[d]esigned
15   for hard hitters with flat shots like Robin Söderling,” and the Radical line is for those
16   whose “playing style is unpredictable.” APPX. Ex. 38-2, 38-3, 38-4, 38-5 at APPX272-
17   79. Ono himself was purportedly exposed to different claims involving Murray and the
18   Radical racket from various sources, i.e. two YouTube videos, an ad in Tennis Magazine,
19   and various press releases.23 While these ads show Murray endorsing a racket line, none
20   of them represent that Murray plays with any of the depicted rackets in competition play.
21            To overcome the fact that individual issues predominate, Ono suggests that any
22   athlete endorsement is per se misleading if the athlete does not use the specific product
23   available at retail in competition play. Under this logic, Ono would have the Court
24   believe pros use a $49.99 pre-strung Head IG tennis racket sold at Costco in championship
25
     22
26     Novak Djokovic, Andy Murray, Gilles Simon, Richard Gasquet, Marat Safin, Maria
     Sharapova, Tomas Berdych, Tommy Haas, Stan Wawrinka, Ivan Ljubicic, Michael
27   Youzhney, Svetlana Kuznetsova, Amelie Mauresmo, and Robin Soderling.
     23
28        APPX. Ex. 43 at 157:4-158:18, 192:1-7, 231:24-232:1, 244:17-246:11.
                                                     37
28                                  JOINT BRIEF RE: CLASS CERTIFICATION

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 1   play merely because pros are shown on retail point-of-sale material swinging the racket.
 2   See APPX. Ex. 51. Moreover, the same exact argument was rejected in Wilson because,
 3   like Ono’s claims, the plaintiff’s claims there were “primarily based on misrepresentations
 4   rather than omissions i.e. whether Wilson misrepresented that Federer uses an identical
 5   racquet to the BLX Pro Staff Six.One 90 racquet available for sale to the public.” APPX.
 6   Ex. 52 at APPX585. Even more so than in Wilson, individual issues predominate here,
 7   requiring the Court to “separately analyze which [] business practices were likely to
 8   deceive consumers and then individually determine which class members were exposed to
 9   potentially misleading or deceptive statements.” Id. at APPX584.
10                3.     Plaintiff’s Position: Whether Class Members Relied upon Head’s
                         Misrepresentations Is a Common Issue that Can Be Adjudicated
11                       on a Classwide Basis
12         At the core of Plaintiff’s claims for violation of the CLRA, UCL, FAL, Fraud and
13   Negligent Misrepresentation, Plaintiff must establish that Plaintiff and class members
14   relied upon the misrepresentations made by Head’s marketing scheme. As discussed
15   above, each of these claims, allows the Plaintiff to establish the element of reliance and
16   causation by showing that the misrepresentations were “material.” Forcellati, 2014 WL
17   1410264, at *9 (citing In re Tobacco II Cases, 46 Cal. 4th at 312.); In re Brazilian
18   Blowout Litigation, 2011 WL 10962891, at *8 (“reliance may be presumed as to the entire
19   class if [d]efendant’s misrepresentations or omissions were material.”) (citing Vasquez, 4
20   Cal.3d at 814).
21         Critically, however, “[i]t is important to note that at this stage in the litigation, the
22   issue is not whether the alleged misrepresentations were in fact material. The proper
23   inquiry for class certification purposes is whether the plaintiff can use common proof to
24   prove whether a misrepresentation [] is material.” Krueger v. Wyeth, Inc., 2011
25   WL8791449, at *6 (S.D. Cal. Mar. 20, 2011) (emphasis added) (rejecting argument that
26   defendant’s misrepresentation might not be material because a physician may have many
27   patient-specific factors that make up his decision to prescribe the products at issue); see
28 also, McCrary, 2014 WL 1779243 at *14 (“[A]t the class certification stage [p]laintiff
                                                    38
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   need not prove that the [defendant’s misrepresentations] were material to all consumers of
 2   [the product] or that they relied on those claims.”) Materiality “is generally a question of
 3   fact unless the ‘fact misrepresented is so obviously unimportant that the jury could not
 4   reasonably find that a reasonable man could have been influenced by it.’” Ortega v.
 5   Natural Balance, Inc., 300 F.R.D. 422, 429 (C.D. Cal. 2014) (quoting In re Tobacco II
 6   Cases, 46 Cal.4th at 329).
 7         Here, the common, classwide evidence of the materiality of the misrepresentations
 8   can be found in Head’s own documents and testimony.24 As noted above, “[a]
 9   representation is ‘material,’ . . . if ‘the maker of the representation knows or has reason to
10   know that its recipient regards or is likely to regard the matter as important in determining
11   his choice of action.’” Hinojos, 718 F.3d at 1107 (quoting Kwikset Corp., 51 Cal. 4th at
12   330). In this case, although the materiality of Head’s misrepresentations need not be
13   actually established at this stage, it cannot reasonably be disputed that Head believed that
14   consumers of the Tour-Line Racquets were “likely to regard” Head’s message that Head’s
15   Paid Professionals actually played with Tour-Line Racquets “as important in determining
16   [their] choice of action” (i.e., whether to purchase a Tour-Line Racquet). Id.
17                                          Redacted
18           (APPX. Ex. 18 (Head definitional slide for “TOUR Consumer”).) Numerous
19   other examples abound, confirming that Head had reason to know that consumers of its
20   Tour-Line Racquets were likely to regard its misrepresentations as being important in
21   determining whether to purchase Tour-Line Racquets. (See APPX. Ex. 35 (Sanders Decl.
22   at ¶¶ 5.a-b, 14-19).)
23         Moreover, in Hinojos the Ninth Circuit specifically identified “the same model of
24   shoe worn by LeBron James” as an example of a material representation. Hinojos, 718
25   F.3d at 1106. “Try as it might, [Head] cannot evade the unmistakable fact that the
26
     24
     There can be no dispute that Plaintiff relied on the advertisements -- he testified that he
27
   purchased the Radical Pro because, based on Head’s misrepresentations, he thought that
28 Andy Murray played with it. (APPX. Ex. 19 at P. 115 (Ono Depo. at 112:2-21).)
                                                    39
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   objective-and realization-of its marketing campaign was to present [the Tour-Line
 2   Racquets to] consumers as a product that [was actually used by Head’s Paid Professionals
 3   in competition]” to increase sales. Johnson, 275 F.R.D. at 298 (C.D. Cal. 2011) (quoting
 4   Fitzpatrick, 263 F.R.D. at 697).
 5         Because the test for materiality and thus, reliance, is to be decided by the trier of
 6   fact using an objective, reasonable person test, Plaintiff’s claims are ideally suited for
 7   class treatment. Tait v. BSH Home Appliances Corp., 289 F.R.D. 466, 480 (C.D. Cal.
 8   2012) (“This objective test renders claims under the UCL, FAL, and CLRA ideal for class
 9   certification because they will not require the court to investigate ‘class members’
10   individual interaction with the product.’”) (quoting Bruno v. Quten Research Inst., LLC,
11   280 F.R.D. 524, 535 (C.D. Cal. 2011)). There is more than enough evidence to establish
12   that a trier of fact could determine that Head’s marketing message was uniform, intended
13   to deceive and could be reasonably relied upon by consumers. (See APPX. Ex. 35
14   (Sanders Decl. at ¶¶ 5, 10-25).)
15                4.     Defendants’ Position: Reliance Is an Individualized Inquiry
16         Certification is inappropriate when reliance and materiality vary in the class.25
17   Reliance or materiality vary if consumers are exposed to and interpret advertisements at
18   issue in different ways or if a variety of factors motivate their purchasing decisions.26
19         Ono relies on internal Head emails to suggest that all consumers necessarily relied
20   25
       Moheb v. Nutramax Labs. Inc., No. CV 12-3633-JFW JCX, 2012 WL 6951904, at *7
21   (C.D. Cal. Sept. 4, 2012) (denying class certification where “issues of reliance and injury
     require individualized inquiry.”); Hodes v. Van's Int’l Foods, No. CV 09-01530 RGK
22
     (FFMx), 2009 WL 2424214 (C.D.Cal. July 23, 2009) (“Courts in the Ninth Circuit and in
23   California have regularly found that where [individualized purchasing] inquiries
24   predominate over common questions of law or fact, courts may refuse to certify a class
     action.”).
25   26
     Maybelline, 300 F.R.D. at 459 (relying on survey evidence of consumers’ differing
26 product performance expectations and wide variety of factors motivating their purchase
   decisions to deny class certification); Kashi, 291 F.R.D. at 508-09 (denying class
27
   certification because consumers’ perception of “all natural” varied, thus necessitating an
28 individualized inquiry into materiality and reliance).
                                                    40
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   upon professional player endorsements because Head intended them to do so. Ono’s
 2   reliance is misplaced. First, this is a non-sequitor. The desires of Head employees are
 3   distinct from consumer decisions. Second, the emails plainly state        Redacted
 4                                          Redacted
 5
 6            APPX. Ex. 4 at APPX86; APPX. Ex. 55 at APPX720-21. This is not the basis
 7   for Ono’s complaint. Ono’s claim is specifically that consumers believed the exact racket
 8   they purchased at retail was used by professionals in competition.
 9         Moreover, common issues of fact regarding reliance and materiality cannot
10   predominate for Ono’s proposed class of purchasers of unstrung “tour” rackets because a
11   buyer must necessarily customize the racquet by selecting strings and stringing the racquet
12   to a personalized tension preference―strings and string tension selections affect a racket’s
13   playability significantly. APPX. Ex. 38 at APPX265. Ono, who does not know the type
14   of strings Murray uses, ensured he played with a racket different from Murray’s by
15   stringing his YouTek IG Radical Pro with strings his dad had “laying around,” and
16   choosing a “random” tension. APPX. Ex. 43 at 81:10-83:13, 130:11-25, 161:14-16.
17   Other class members would also make highly individualized decisions in selecting racket
18   strings and tensions.
19         Not only were consumers exposed to a wide variety of advertising claims, but Ono
20   presents no evidence as to whether or how consumers would uniformly interpret Head’s
21   endorsement claims (e.g., that Murray plays with a YouTek IG Radical Pro). Ono’s lack
22   of evidence on this defeats class certification. Kashi, 291 F.R.D. at 508 (denying class
23   certification for products with certain ingredients “absent stronger evidence as to what
24   consumers perceived or what they would find material”). Most significantly, the class-
25   wide evidence before the Court—the surveys and other evidence introduced by Head—
26   establishes that the questioned representations are immaterial and not common. Ono
27   cannot show that all potential class members “have both actual injury and show that the
28 injury was caused by the challenged practice.” Berger v. Home Depot USA, Inc., 741 F.3d
                                                   41
28                                JOINT BRIEF RE: CLASS CERTIFICATION

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 1   1061, 1069 (9th Cir. 2014). Ono thus cannot certify a class for his CLRA, UCL, or FAL
 2   claims.27
 3                5.    Plaintiff’s Position: Exposure of Class Members to Head’s
                        Marketing Can Be Demonstrated with Common Proof
 4
           Head contends that, notwithstanding the above, consumers of the Tour-Line
 5
     Racquets could not have relied on Head’s material misrepresentations because there is no
 6
     evidence that they were exposed to Head’s misrepresentations. But, Head’s contention is
 7
     belied by the facts. Plaintiff’s experts, Cameron R. Azari and Bill J. Sanders, explain that
 8
     given nature of Head’s communications campaign, consumers of the Tour-Line Racquets
 9
     were exposed to Head’s misrepresentations -- and multiple times. (APPX. Ex. 36 (Azari
10
     Decl. at ¶¶ 21-25); Ex. 35 (Sanders Decl. at ¶¶ 5.c, 20-25).)
11
           Additionally, Head’s lengthy, widespread, and decades-long campaign of
12
     misinformation provides an independent ground to establish that members of the Class
13
     were exposed to Head’s misrepresentations. In re Tobacco II Cases, 46 Cal.4th at 328
14
     (Plaintiff “is not required to necessarily plead and prove individualized reliance on
15
     specific misrepresentations or false statements where, as here, those misrepresentations
16
     and false statements were part of an extensive and long-term advertising campaign.”); see
17
     also, Opperman v. Path Inc., 2014 WL 1973378, *16 (N.D. Cal. May 14, 2014)
18
     (collecting cases and explaining that “[h]ow long and how extensive the advertising
19
     campaign must be is a fact-intensive inquiry”). Here, it cannot reasonably be disputed
20
     that the campaign at issue was sufficiently extensive and long-term. (APPX. Ex. 15 at PP.
21
     106-107 (Petersman Depo. at 173:23-174:6                  Redacted
22
23
                                                                                         see
24
     also, (Ex. 36 Azari Decl. at ¶¶ 15-19; and Ex. 35 Sanders Decl. at ¶¶ 14-25 (discussing the
25
26
     27
     Ono’s fraud, negligent misrepresentation, breach of express warranty and unjust
27
   enrichment claims are pled only on behalf of a nationwide subclass. There are no grounds
28 for certifying a nationwide subclass and Ono has not moved to do so.
                                                   42
28                                JOINT BRIEF RE: CLASS CERTIFICATION

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 1   extensive nature of Head’s campaign)); (APPX. Exs. 3,5-13, 29 (exemplar Head press
 2   releases and advertisements containing the misrepresentations at issue).)
 3                6.    Defendants’ Position: It Is Unreasonable to Assume That All Class
                        Members Were Exposed to the Advertising Statements at Issue
 4
                        a.     Plaintiff Improperly Relies on Tobacco II
 5
           Plaintiff mistakenly relies on In re Tobacco II Cases to argue that Head’s “lengthy,
 6
     widespread, and decades-long campaign of mis-information” means all class members
 7
     were exposed to the ads at issue.
 8
           The inference of exposure articulated in Tobacco II is appropriate where the ads at
 9
     issue are “similar enough to be considered as part of one campaign, or the delivery of a
10
     single message or set of messages, rather than a disparate set of advertising content
11
     published in the ordinary course of commerce.” Opperman, 2014 WL 1973378, at *17.
12
     Head, like other tennis companies, uses market segmentation and product differentiation
13
     to advertise its products. APPX. Ex. 55 at APPX713-14; APPX. Ex. 38 at APPX264.
14
     Head helps consumers self-identify which market/product segment they fall into with the
15
     “What’s your game?” tool, which asks consumers for seven pieces of information before
16
     suggesting certain racket models. APPX. Ex. 49. Rather than conveying a single
17
     message, Head touts the various and “disparate” attributes of each Tour racket line.
18
           Here, Ono claims a single message—Andy Murray’s use of the racket—influenced
19
     his decision to buy the YouTek IG Radical Pro.28 But Head did not associate Murray with
20
     the YouTek IG Radical Pro until January 2012, only two months before Ono allegedly
21
22
23   28
     APPX. Ex. 45 at APPX501-02; APPX. Ex. 43 at 111:17-19, 125:16-126:16. Though
24 Ono cannot consistently identify the precise racket he purchased, the complaint and
   interrogatory responses list it as the YouTek IG Radical Pro, but in deposition Ono
25
   referred to the racket he bought as simply “Radical Pro,” undifferentiating the YouTek
26 Radical Pro, YouTek IG Radical Pro, Graphene Radical Pro, etc. Indeed, Ono testified
   that he did know of an IG Radical Pro and believed he did not own one. APPX. Ex. 43 at
27
   188:7-23. Even in this brief, Ono claims he bought a YouTek Radical Pro not a YouTek
28 IG Radical Pro.
                                                   43
28                                JOINT BRIEF RE: CLASS CERTIFICATION

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 1   bought his racket.29 A two-month advertising stint is not the type of “massive” or “long-
 2   standing” advertising campaign that would allow Ono to establish that class members
 3   were exposed to Head’s alleged misrepresentations. In re iPhone 4S Consumer Litig., No.
 4   C 12-1127, 2013 WL 3829653, at *12 (N.D. Cal. July 23, 2013) (six month advertising
 5   campaign not “comparable to that at issue in Tobacco II.”).
 6                    b.    It Is Unreasonable to Assume That Class Members Were
                            Exposed to the Advertising Ono Relied on
 7
             Ono must show that class members were “actually exposed” to the advertisements
 8
     at issue. Berger, 741 F.3d at 1068; Mazza, 666 F.3d at 596 (“[i]n the absence of the kind
 9
     of massive advertising campaign at issue in Tobacco II, the relevant class must be defined
10
     in such a way as to include only members who were exposed to [the allegedly misleading
11
     advertisements].”). Yet Ono himself struggles to recall the ads he relied on in purchasing
12
     his racket. He claims he saw one ad while casually flipping through an issue of Tennis
13
     Magazine in a bookstore in 2012 or “possibly in 2011,” some press releases on Head’s
14
     website, and two YouTube videos. APPX. Ex. 43 at 157:4-158:18. In deposition, Ono
15
     could not identify which ad he saw in Tennis Magazine. Head placed three different
16
     advertisements featuring Andy Murray in Tennis Magazine in 2011-2012. APPX. Ex. 38-
17
     22, 38-23, 38-24. One advertised the YouTek Radical Pro, rather than the YouTek IG
18
     Radical Pro, and the other two promoted the YouTek IG Radical series generally. Id.
19
     One of the YouTube videos Ono saw discusses the “Head YouTek Radical,” not the
20
     YouTek IG Radical Pro; the other shows Murray discussing the “Radical” racquet.
21
     APPX. Ex. 50. These two videos were each viewed less than 20,000 times worldwide. Id.
22
             Ono claims he saw a dozen Head press releases before purchasing his racket.
23
     APPX. Ex. 38-21; APPX. Ex. 43 at 231:24-232:1. All but one involve racket models
24
     other than the model Ono bought. Few, if any, prospective class members have been
25
     exposed to these releases as most of the releases in                Redacted
26
                                                            APPX. Ex. 38 at APPX268.
27
     29
28        APPX. Ex. 38 at APPX268; APPX. Ex. 45 at APPX502.
                                                    44
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1         For the reasons further detailed in the report of Head’s expert, Dr. Larry Chiagouris,
 2   it is “unreasonable” to assume that all class members were exposed to the same
 3   advertising Ono relied on in purchasing his racket. Mazza, 666 F.3d at 594-96. APPX.
 4   Ex. 55 at APPX714, APPX718-19. As a result, common issues do not predominate and
 5   class certification fails. Id. See also, Berger, 741 F.3d at 1069.
 6         B.     Damages
 7                1.  Plaintiff’s Position: Plaintiff’s Damages Model Satisfies the
                      Comcast Standard30
 8
           In order to establish predominance under Rule 23(b)(3), Plaintiff is required to
 9
     show that “damages are capable of measurement on a classwide basis.” Comcast Corp. v.
10
     Behrend, 133 S. Ct. 1426, 1433 (2013). However, “so long as the damages can be
11
     determined and attributed to . . . [P]laintiff’s theory of liability, damage calculations for
12
     individual class members do not defeat certification.” Lindell v. Synthes USA, 2014 WL
13
     841738, at *14 (E.D. Cal. Mar. 4, 2014); see also, Johns, 280 F.R.D. at 555 (“The amount
14
     of damages is invariably an individual question and does not defeat class action
15
     treatment.”) Here, Plaintiff presents two damages models to support his claims. (See
16
     APPX. Ex. 37 (Declaration of Colin Weir in Support of Plaintiff’s Motion for Class
17
     Certification (“Weir Decl.”)).) In his report, Plaintiff’s damages expert, Mr. Colin Weir,
18
     presents a well-accepted economic analysis of information from Head’s production to
19
     determine that he is able to calculate each putative class members damages on a per
20
     racquet model basis. These damages calculations are based on reliable, common facts and
21
     the application of sound economic principles to those facts.
22
           Specifically, with respect to Plaintiff’s CLRA, UCL, FAL, and Unjust Enrichment
23
     claims, Plaintiff presents a restitutionary disgorgement model. In this case, Plaintiff
24
     contends, among other things, that “[b]ut for Head’s misrepresentations, Plaintiff and
25
     30
26   Defendant’s expert report of Schoettelkotte is irrelevant and lacks foundation. Fed. R.
   Evid. 401, 403, and 901(a). Moreover, Schoettelkotte not qualified to offer expert
27
   opinions on each of the topics for which he provides an opinion. Fed. R. Evid. 702;
28 Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993).
                                                    45
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   members of the Class would not have purchased” the Tour-Line Racquets. (First
 2   Amended Complaint at ¶ 35); see also, FTC v. Figgie Int’l, 994 F.2d 595, 606 (9th Cir.
 3   1993) (“The seller’s misrepresentations tainted the customers’ purchasing decisions. If
 4   they had been told the truth, perhaps they would not have bought [the products at issue] at
 5   all or only some. . . . The fraud in the selling, not the value of the thing sold, is what
 6   entitles consumers in this case to full refunds . . .”)
 7         Accordingly, under Plaintiff’s restitutionary disgorgement model, Plaintiff seeks to
 8   return the parties to the position they would have been in had Plaintiff and the members of
 9   the Class not purchased the Tour-Line Racquets. Fletcher v. Security Pacific National
10   Bank, 123 Cal.3d 442, 454 (1979) (“A court of equity may exercise its full range of
11   powers in order to accomplish complete justice between the parties, restoring if necessary
12   the status quo ante as nearly as may be achieved.”) By subtracting from the retail sales
13   price Head’s cost of goods sold and the retailer’s added charge (including profit),
14   Plaintiff’s model puts Head in the position it would have been in had it not made the
15   racquet sold to Plaintiff or the members of the Class and it returns to Plaintiff Head’s
16   operational profits from the sale of the racquets, while controlling for the value Plaintiff
17   received for the racquets (the cost of the racquet and the retail markup). (See APPX. Ex.
18   37 (Weir Decl. at ¶¶ 22-25)); see also, Corbett v. Sup. Ct., 101 Cal. App. 4th 649, 671
19   (2002) (“allowing the defendants to retain any portion of their illicit profits would impair
20   the full impact of the deterrent force that is essential if adequate enforcement of the UCL
21   is to be achieved”) (internal citations and quotations omitted); Guido, 2013 WL 3353857,
22   at *13 (“The form of restitutionary relief authorized by California law has two purposes:
23   returning money unjustly taken from the class, and deterring the defendant from engaging
24   in future violations of the law.”); County of San Bernardino v. Walsh, 158 Cal.App.4th
25   533, 542 (2007) (“The emphasis is on the wrongdoer’s enrichment, not the victim’s loss.
26   . . . Without this result, there would be an insufficient deterrent to improper conduct that is
27   more profitable than lawful conduct.”).
28
                                                     46
28                                  JOINT BRIEF RE: CLASS CERTIFICATION

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 1         With respect to Plaintiff’s Fraud, Negligent Misrepresentation, and Breach of
 2   Express Warranty claims, Plaintiff presents a benefit-of-the-bargain damages model.
 3   Plaintiff and the members of the Class allege that they purchased Tour-Line Racquets that
 4   Head represented were the racquets actually used in competition by Head’s Paid
 5   Professionals. Plaintiff and the members of the Class are entitled to receive what they
 6   were promised -- i.e., the benefit-of-the-bargain. This litigation revealed that, contrary to
 7   Head’s promise, the Tour-Line Racquets sold to Plaintiff and the Class were not the
 8   racquets actually used by Head’s Paid Professionals because Head’s Paid Professionals
 9   actually use custom made racquets, which were not available to the public. However,
10   since this lawsuit was filed, Head announced its “Custom Made” program, which, for the
11   first time, allows consumers to have a racquet custom made to the specifications of one of
12   Head’s Paid Professionals. Plaintiff’s benefit-of-the-bargain model takes the cost of what
13   Plaintiff and members of the Class bargained for (a racquet custom made to the
14   specifications of one of Head’s Paid Professionals) and subtracts the price they already
15   paid for Tour-Line racquets. (See APPX. Ex. 37 (Weir Decl. at ¶¶ 14-21).)
16                2.     Defendants’ Position: Ono’s Damages Model Is Fatally Flawed
17         “[A] court can certify a Rule 23(b)(3) class only if there is evidence demonstrating
18   the existence of a classwide method of awarding relief that is consistent with the
19   plaintiffs’ theory of liability.”31 Plaintiff must show that the damages “stem[] from the
20   defendant’s actions that created the legal liability.”32 The proper measure of restitution in
21   consumer fraud is “the difference between the product as labeled and the product as
22
23
24
     31
25     Astiana v. Ben & Jerry’s Homemade, Inc., No. C 10-4387, 2014 WL 60097, at *12
26   (N.D. Cal. Jan. 7, 2014) (citing Forrand v. Federal Exp. Corp., No. CV 08–1360, 2013
     WL 1793951, at *3 (C.D.Cal. Apr. 25, 2013)).
27   32
     Leyva v. Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir. 2013) (citing Comcast, 133 S.
28 Ct. at 1435).
                                                    47
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   received.”33
 2         Ono does not provide a method for calculating this difference, as it is impossible to
 3   tell what value, if any, consumers placed on each athlete’s endorsement. Nor can Ono
 4   attribute any price difference to Head’s actions because no such difference exists. Head
 5   has never charged a premium for rackets that are the subject of Ono’s claims versus other
 6   models in its tour lines.                            Redacted
 7
 8
 9                                                  APPX. Ex. 42 at APPX390. Tour line
10   rackets generally sell at higher price points than pre-strung rackets for several reasons,
11   including improved technology, construction methods, and manufacturing costs.
12   Maybelline, 300 F.R.D. at 460 (denying certification because the court could “fathom a
13   number of reasons why” the cosmetic products were priced as they were, including colors
14   offered and research and development costs). Retail prices of “Tour” rackets vary
15   substantially among retailers and damages are not measurable on a classwide basis.
16   Astiana, 2014 WL 60097, at *12 (denying certification because defendant was not the
17   retailer who set prices and plaintiff did not offer any evidence that products marketed as
18   “all natural” were priced higher).34
19         As detailed further in the report of Head’s damages expert, Todd Schoettelkotte,
20   Ono’s comparison to Head’s custom made program is misplaced because Ono knew he
21   was purchasing a mass-produced racket, not a significantly more expensive unique racket
22   made to his personal specifications. APPX. Ex. 54 at APPX685-87. More importantly,
23
     33
24     Werdebaugh v. Blue Diamond Growers, No. 12-CV-02724, 2014 WL 7148923, at *8
     (N.D. Cal. Dec. 15, 2014) (citing Colgan v. Leatherman Tool Grp., Inc., 135 Cal. App 4th
25   663, 700 (2006)).
     34
26    Ono’s benefit-of-the-bargain model for fraud, negligent misrepresentation, and breach
   of warranty is irrelevant since those claims were not pled on behalf of the California class.
27
   It also is flawed in assuming consumers bargained for and did not receive custom rackets
28 because the rackets were not advertised as custom made.
                                                    48
28                                 JOINT BRIEF RE: CLASS CERTIFICATION

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 1   Ono only paid $180, not the $400 charged for a custom racket. Hence, the difference
 2   between the value of the custom racket and the one Ono actually received is irrelevant
 3   because Ono did not pay that difference and did not received a product of less value than
 4   what he paid. Id.
 5         Ono’s disgorgement theory is equally flawed because his expert did not compute
 6   the difference in value of the racket Ono received against a comparative racket he could
 7   purchase from a manufacturer that did not implement a marketing campaign that he finds
 8   to be deceptive. The value of the racket he received cannot be based on a manufacturer’s
 9   cost of goods and a retail mark up, as the value of the racket must incorporate, at
10   minimum, all costs associated with manufacturing, distributing, and selling the product.
11   Moreover, the disgorgement theory is based on the assumption that all class members
12   would not have purchased a Head racket had they known “the truth,” but the evidence
13   clearly establishes that assumption to be incorrect because most purchasers do not care
14   about athlete endorsements of specific products. Id. at APPX687-88.
15         C.     Superiority
16                1.   Plaintiff’s Position: A Class Action Is the Superior Method of
                       Adjudication
17
           Rule 23(b)(3)’s superiority requirement tests whether “classwide litigation of
18
     common issues will reduce litigation costs and promote greater efficiency.” Valentino v.
19
     Carter-Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996); Astiana, 291 F.R.D. at 507
20
     (“Here, it would not be economically feasible to obtain relief for each class member given
21
     the small size of each class member’s claim. Accordingly, the Court finds that [a] class
22
     action is clearly superior to ensure a fair and efficient adjudication of the present action.”)
23
           Courts evaluating superiority look to four non-exclusive factors: “(1) the interest of
24
     each class member in individually controlling the prosecution or defense of separate
25
     actions; (2) the extent and nature of any litigation concerning the controversy already
26
     commenced by or against the class; (3) the desirability of concentrating the litigation of
27
     the claims in a particular forum; and (4) the difficulties likely to be encountered in the
28
                                                    49
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 1   management of a class action.” Keegan v. Amer. Honda Motor Co., Inc., 284 F.R.D. 504,
 2   549 (C.D. Cal. 2012).
 3         Where, as here, the “damages suffered by each putative class member are not large,
 4   this factor weighs in favor of certifying a class action.” Zinser, 253 F.3d at 1190; Allen v.
 5   Hyland’s Inc., 300 F.R.D. 643, 671 (C.D. Cal. 2014). Additionally, given that there are
 6   no other cases challenging Head’s marketing practices, there is no “threat of multiplicity”
 7   or “risk of inconsistent adjudications” in proceeding as a class action. Zinser, 253 F.3d at
 8   1191. Additionally, because the proposed class involves only California purchasers of the
 9   Tour-Line Racquets, there can be no real dispute that it is appropriate to concentrate the
10   litigation in this Court. See Fed. R. Civ. P. 23(b)(3)(C). Finally, analysis of the fourth
11   factor confirms the superiority of class litigation here. Resolution of the predominate
12   legal issues will be driven by an overriding common question -- i.e., whether the
13   misrepresentations made by Head are material to an objective reasonable consumer.
14                2.     Defendants’ Position: The Proposed Class Is Not Manageable
15         Manageability analysis “requires consideration of the potential difficulties in
16   notifying class members of the suit, calculation of individual damages, and distribution of
17   damages.” Moheb, 2012 WL 6951904, at *8. Given the lack of common questions,
18   atypical class representative, predominance of individual issues, inability to ascertain or
19   identify class members, impossibility of calculating damages, and the need to consider
20   different advertising across at least five different racket lines and 24 distinct racket models
21   (within each the characteristics, marketing, and athlete association has differed over the
22   nine-year class period), a class action is unmanageable and not a superior method of
23   adjudication here. Maybelline, 300 F.R.D. at 461.
24   IV.   CONCLUSION
25         For the foregoing reasons, subject to supplemental briefing due on June 4, 2015, the

26   parties submit their respective positions.

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 1   DATED: May 15, 2015                       BARON & BUDD, P.C.
 2                                        By: /s/Mark Pifko
 3                                            Mark Pifko
 4                                             Daniel Alberstone (SBN 105275)
 5                                             dalberstone@baronbudd.com
                                               Mark Pifko (SBN 228412)
 6                                             mpifko@baronbudd.com
 7                                             Evan Zucker (SBN 266702)
                                               ezucker@baronbudd.com
 8                                             BARON & BUDD, P.C.
 9                                             15910 Ventura Boulevard, Suite 1600
                                               Encino, California 91436
10                                             Attorneys for Plaintiff
11
                                               RUSSELL MINORU ONO, individually,
12                                             and on behalf of other members of the
13                                             general public similarly situated
14
15                                             Douglas A. Rettew (pro hac vice)
                                               Danny M. Awdeh (pro hac vice)
16                                             Anna Balishina Naydonov (pro hac vice)
17                                             FINNEGAN, HENDERSON,
                                               FARABOW, GARRETT & DUNNER,
18                                             L.L.P.
                                               901 New York Avenue NW
19
                                               Washington DC 20001
20                                             Telephone: 202.408.4000
                                               Facsimile: 202.408.4400
21
22                                             MICHAEL L. MALLOW (SBN 188745)
                                               mmallow@sidley.com
23                                             SIDLEY AUSTIN LLP
                                               555 West Fifth Street
24
                                               Los Angeles, CA 90013
25                                             Telephone: 213.896.6666
26                                             HEAD USA, INC.
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28                             JOINT BRIEF RE: CLASS CERTIFICATION

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